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         23-905-CV
                                     IN THE


        United States Court of Appeals
                          FOR THE SECOND CIRCUIT

                                     >> >>
                       STRUCTURED ASSET SALES, LLC,
                                                                   Plaintiff-Appellant,
                                       v.

EDWARD CHRISTOPHER SHEERAN, PERSONALLY KNOWN AS ED SHEERAN, SONY/ATV
M USIC P UBLISHING , LLC, ATLANTIC R ECORDING C ORPORATION , DBA ATLANTIC
RECORDS, BDI MUSIC LTD., BUCKS MUSIC GROUP LTD., THE ROYALTY NETWORK, INC.,
DAVID PLATZ MUSIC (USA) INC., AMY WADGE, JAKE GOSLING,
                                                               Defendants-Appellees,

                       (Caption Continued on the Reverse)



                 On Appeal from the United States District Court
                     for the Southern District of New York




              BRIEF AND SPECIAL APPENDIX FOR
                   PLAINTIFF-APPELLANT



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ED SHEERAN LIMITED, GINGERBREAD MAN RECORDS, AMY WADGE RECORDS, STICKY
STUDIOS, SONY/ATV MUSIC PUBLISHING, LTD. UK, ATLANTIC RECORDS UK, BDI
MUSIC, BUCKS MUSIC GROUP, WARNER MUSIC GROUP CORPORATION, DBA ASYLUM
RECORDS, WARNER MUSIC GROUP, LTD. UK, DOES 1-10,
                                                              Defendants.
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                   CORPORATE DISCLOSURE STATEMENT

         Pursuant to Federal Rule of Appellate Procedure 26.1, Appellant Structured

Asset Sales, LLC states that it is a Delaware Limited Liability Company. It has no

parent company, and no publicly held company holds more than ten percent of its

stock.
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                         PRELIMINARY STATEMENT

      This is an appeal from a series of decisions by the United States District Court

for the Southern District of New York, culminating in the District Court’s grant of

the motion for summary judgment of Defendant-Appellee Edward Christopher “Ed”

Sheeran (“Sheeran”) and his co-Defendant-Appellees (collectively, “Appellees”),

and dismissal of Plaintiff-Appellant Structured Asset Sales, LLC’s (“Appellant” or

“SAS”) Complaint.

      The case concerns two extraordinarily successful pieces of popular music:

The 1973 Marvin Gaye (“Gaye”) hit “Let’s Get It On” (“LGIO”), written by Edward

Townsend (“Townsend”) and Gaye, and the 2014 Sheeran hit “Thinking Out Loud”

(“TOL”), purportedly written by Appellees Sheeran and Amy Wadge (“Wadge”).

Appellant, one of the owners of the copyright in the LGIO musical composition, 1

maintains that Appellees are liable for copyright infringement by virtue of their

recording, distribution and public performance of TOL.

      This Appeal presents the Circuit with six critical issues, almost all of which

are matters of first impression:

      First, whether the scope of copyright registrations for musical compositions

are defined and limited by the “deposit copies” filed by the applicants. The District


1
 Other owners of the LGIO musical composition were the plaintiffs in Griffin v.
Sheeran, 17-cv-5221 (S.D.N.Y.) (“Griffin”), assigned to the same District Judge.
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Court – following the Ninth Circuit’s 2020 decision in Skidmore v. Led Zeppelin,

952 F.3d 1051 (9th Cir. 2020) (en banc) – ruled that the scope of the LGIO copyright

registration was strictly limited by the handwritten sheet music “deposit copy” filed

by Townsend in 1973. SPA13-14. This – like the Skidmore decision – was error.

      Second, even assuming the District Court ruled correctly that the scope of a

musical composition copyright registration is limited by the “deposit copy” sheet

music from a period when the Copyright Office did not permit sound recordings to

be deposited, whether a copyright owner should be permitted to correct for that issue

by securing a new copyright registration for the same musical composition, using

the sound recording of the composition as a deposit copy, and adding it to the case.

Here, the District Court denied Appellant’s request to amend the Complaint (SPA11-

12) to include such an additional registration that it secured in 2020 (A403-05), and

this was error.

      Third, even if the scope of copyright is defined and limited by the original

“deposit copy,” and specifically the scope of the LGIO copyright registration is

limited by the handwritten sheet music filed by Townsend, whether musicology

experts should be permitted to opine and testify as to how skilled musicians would

play that sheet music. The District Court ruled that Appellant’s experts could not

testify on this subject. SPA15-16. Again, this was error. The direct effect of the

District Court’s erroneous determination of the first three issues was to severely



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narrow the scope of the LGIO copyright and Appellant’s infringement claim to two

musicological elements.

      Fourth, whether the “selection and arrangement” of the remaining two-

elements could be pursued as a matter of law. The District Court answered this

question in the negative (SPA37-52), and thus ruled that Appellant had failed to state

a claim for copyright infringement. This ruling was also made in error.

      Fifth, whether the District Court erred in finding that the combination of

elements at issue was “commonplace” (SPA49-52), despite having already ruled

(SPA18-29) that there was a disputed question of material fact among the parties and

their experts as to that very issue.

      Sixth, whether in the case of the performance of copyright-infringing music

at concerts, the damages “nexus” between the infringing performances and the

revenues collected by the parties responsible for the performances is established by

the identification of said revenues. Here, the District Court ruled that blanket non-

exclusive performance licenses issued by performing rights organizations (“PROs,”

including ASCAP and BMI) do not excuse copyright infringement (SPA3-5), that

“profits from the sale of concert tickets are direct” (SPA31), and that Appellant had

established a damages “nexus” (SPA1, 5, 33). To the extent that the Appellees may

try to construe the District Court’s ultimate grant of summary judgment (SPA52) as

reversing that decision, that view would be wrong.



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      The District Court’s “deposit copy” decision (SPA13-16) should be reversed

in its entirety, along with the District Court’s subsequent grant of summary judgment

based on its “selection and arrangement” and “commonplace” rulings (SPA37-52),

and the case should be remanded to the District Court so that it may proceed to trial,

with Appellant’s expert reports restored in full, and with the decisions relating to

concert revenues intact.

      Even if this Court agrees with the District Court’s “deposit copy” or “selection

and arrangement” decisions, the case should nevertheless be remanded to the District

Court with one or both of the following instructions: (i) to permit amendment of the

Complaint to include the 2020 copyright registration, and (ii) to permit Appellant’s

experts to express their opinions as to how skilled musicians would play the “deposit

copy,” either of which would provide a basis for a jury to decide that the scope of

the LGIO copyright extends beyond the two elements to which the District Court

restricted it and that Appellees are liable for copyright infringement.




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                      JURISDICTIONAL STATEMENT

      The District Court had subject matter jurisdiction under 17 U.S.C. § 501, et

seq. Final judgment was entered on May 17, 2023. SPA53. Appellant timely

noticed its appeal from the judgment on June 16, 2023. A1900. This Court has

jurisdiction under 28 U.S.C. § 1291.




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                     ISSUES PRESENTED FOR REVIEW

      1.     Whether the District Court erred when it held that the scope of the

LGIO copyright registration was strictly limited by the handwritten sheet music

“deposit copy” filed by Townsend in 1973, following the Ninth Circuit’s 2020

decision in Skidmore v. Led Zeppelin, 952 F.3d 1051 (9th Cir. 2020) (en banc).

      2.     Whether, even if the scope of the LGIO copyright registration should

be limited by its sheet music “deposit copy,” the District Court erred when it

prohibited Appellant from addressing that issue by amending the Complaint to

include a newly-secured copyright registration for the same musical composition,

using a sound recording of the composition as a deposit copy.

      3.     Whether, even if the scope of the LGIO copyright registration should

be limited by its sheet music “deposit copy,” the District Court erred when it

prohibited Appellant’s musicology experts from opining and testifying as to how

skilled musicians would play that sheet music.

      4.     Whether, even if the District Court’s “deposit copy” rulings were

correct, the District Court erred when it ruled that Appellant’s “selection and

arrangement” copyright claim could not be maintained as a matter of law with only

two musicological elements.

      5.     Whether the District Court erred when it held that the parties were in

agreement that the selection and arrangement at issue was “commonplace,”



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notwithstanding its prior ruling that the same issue was the subject of a disputed

question of material fact among the parties and their experts.

      6.     Whether the District Court’s grant of summary judgment reversed its

prior rulings that “profits from the sale of concert tickets are direct,” and that

Appellant had met its “burden of producing evidence that shows revenue from the

sale of tickets to concerts where TOL was performed.”



                         STATEMENT OF THE CASE

      Appellant initiated this case on June 28, 2018, after the District Court denied

its request to join the Griffin v. Sheeran infringement case, 2 and filed the Third

Amended Complaint (“Complaint”) on May 30, 2019. A31. Appellees answered

the Complaint on June 8-9, 2023. A61-80 & ECF 109-114, 118.

      On January 15, 2020, the District Court granted Appellant’s motion to compel

Appellees to produce discovery concerning revenues earned by them from concerts

at which Sheeran performed TOL. A81-291; SPA1-10.

      On April 14, 2020, Appellant obtained the new copyright registration for the

composition which used a sound recording as its deposit, Registration

PA0002238083. A403-05. However, on May 13, 2020, the District Court denied



2
 Griffin v. Sheeran, 17-cv-5221, 2018 WL 11222864 (S.D.N.Y. June 11, 2018),
aff’d, 767 F. App’x 129 (2d Cir. 2019).


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Appellant’s request for permission to file a Fourth Amended Complaint to add the

2020 Registration to the Complaint. A302-421; SPA11-12.3

      On April 5, 2021, Appellees moved in limine to preclude Appellant’s

musicology experts from offering any evidence in the case, and separately moved

for summary judgment of dismissal. Appellant opposed and cross-moved. A424-

1240. On September 9, 2021, the District Court granted Appellees’ in limine motion

in part, rendered its “deposit copy” decision, and directed Appellant to have its

experts narrow their reports consistent with the “deposit copy” ruling. SPA13-16.

On September 14, 2021, the District Court denied the summary judgment motions

without prejudice to renewal after such revision. SPA17.

      On November 15, 2021, Appellees filed a second motion for summary

judgment regarding copyright infringement, Appellant’s musicology experts and the

concert revenues issue. Appellant opposed and cross-moved for summary judgment

with respect to damages arising from concert revenues. A1246-1860. On September

29, 2022, the District Court denied Appellees’ motion on the issue of copyright

infringement, granted in part Appellees’ motion with respect to Appellant’s experts,


3
  On April 8, 2020, Appellant asked the District Court for permission to move “for
a determination that the scope of the ‘Let’s Get It On’ copyright registrations upon
which SAS sued are not limited to what appears on the sheet music deposit copy
filed in 1973 and/or that a musicologist may interpret elements from sheet music in
his capacity as an expert in the field.” A303. The Court denied Appellant’s
request. ECF 151, 155.


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and granted Appellant’s cross-motion with respect to damages arising from concert

revenues. SPA18-36. On October 13, 2022, Appellees moved for reconsideration

of the District Court’s denial of their motion regarding copyright infringement or, in

the alternative, for leave to appeal to this Court. A1880-82.

      In April and May, 2023, a jury trial was held in Griffin. The jury returned a

verdict for the defendants, finding that “defendant Sheeran establish[ed] by a

preponderance of the evidence that he independently created ‘Thinking Out Loud’

and thus did not infringe the copyright of ‘Let’s Get it On.’” Jury Verdict, Griffin,

17-cv-5221, 2023 WL 3383215 (S.D.N.Y. May 4, 2023) (ECF 276).

      Although the Griffin verdict was not binding on Appellant, on May 16, 2023,

the District Court granted Appellees’ motion for reconsideration and renewed

motion for summary judgment (SPA37-52) without specifically referencing the

concert revenues issue, entering judgment dismissing the case on May 17, 2023.

SPA53.



                            STATEMENT OF FACTS

      Townsend and Gaye wrote, recorded and released LGIO in 1973. SPA37;

A1673 ¶ 17. On July 17, 1973, Townsend applied for copyright protection for the

LGIO musical composition with the U.S. Copyright Office. In support of that

application, he deposited with the Copyright Office handwritten sheet music in the



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“lead sheet” notation style as the “deposit copy,” resulting in Registration No.

EP314589.4 SPA38; A569-75; A1674 ¶¶ 20-21. Appellant has an 11.11% beneficial

ownership interest in the right to receive royalties from the LGIO copyright and the

right to sue on that interest. SPA38; A1673 ¶ 18.

      In 2014, Sheeran and Wadge purportedly wrote TOL, and Appellees recorded,

produced, and distributed it. SPA38-39; A1675 ¶ 24. TOL enjoyed commercial and

critical success, including a Grammy Award for Song of the Year.            SPA38.

According to publicly-available information, Sheeran performed TOL 456 times in

concert between May 24, 2014 and August 28, 2019, and it was Sheeran’s fourth-

most-frequently-performed song. A146-55. On at least one documented occasion,

Sheeran performed a live “mash-up” performance of TOL and LGIO in concert.5

      On April 14, 2020, Appellant filed a new application with the Copyright

Office to register the LGIO composition, submitting a sound recording of LGIO as

its deposit copy. Appellant filed in its own name and “on behalf of, and with the




4
 Townsend secured a second registration in 1973 for the LGIO composition,
Registration No. EU422281. Both were automatically renewed in 2000 under RE
0000848835 and RE 0000840063. A1673 ¶ 19.
5
  See Griffin v. Sheeran, 351 F. Supp. 3d 492, 501 (S.D.N.Y. 2019) (“A jury might
side with either view; it may be impressed by footage of a Sheeran performance
which shows him seamlessly transitioning between LGO and TOL”) (referencing
Griffin ECF 82-2 (copy of video)). Another copy of the video was filed with the
Court in Structured Asset Sales v. Sheeran, 20-cv-4329 (S.D.N.Y.) at ECF 91-14).


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permission of,” the plaintiffs in the Griffin matter, who together with Appellant

comprised 100% of the holders of Townsend’s interests in the LGIO musical

composition. The registration was granted on April 24, 2020, effective April 14,

2020, and received Registration No. PA0002238083. A324-25, 403-05.



                          SUMMARY OF ARGUMENT

      The District Court erred when it adopted the Ninth Circuit’s Skidmore ruling

and held that the scope of the LGIO copyright registration was strictly limited by the

handwritten sheet music “deposit copy” filed by Townsend in 1973. The District

Court erred again when it prohibited Appellant from amending the Complaint to add

a copyright registration for the same musical composition based on the LGIO sound

recording, and again when it prohibited Appellant’s musicology experts from

opining and testifying as to how skilled musicians would play that sheet music, either

of which would have addressed the problems the District Court created by its

“deposit copy” ruling. Instead, the District Court used its “deposit copy” decisions

to constrict the range of musicological elements on which it would allow Appellant

to proceed to just two.

      Having done so (reversing itself only after the jury verdict in the related

Griffin matter), the District Court erred when it decided that a two-element

“selection and arrangement” claim could not be sustained under any circumstances



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as a matter of law, and erred yet again when it held that the parties agreed that the

combination of elements was “commonplace,” despite its prior ruling that that was

a disputed issue of material fact. The District Court’s erroneous decisions should be

reversed, and Appellant’s case restored so that it can proceed to trial.

      As a final matter, the District Court’s grant of summary judgment to Appellant

relating to concert revenues – that “profits from the sale of concert tickets are direct,”

and that Appellant had met its “burden of producing evidence that shows revenue

from the sale of tickets to concerts where TOL was performed” – were not reversed

by its subsequent grant of summary judgment to Appellees. To conclude otherwise

would be error.



                                     ARGUMENT

I.    STANDARDS OF REVIEW

      The District Court’s decisions on the motions for summary judgment (SPA37-

52), as well as its decision on Appellee’s motion in limine, which decided a question

of law (SPA13-16), are reviewed de novo. Bey v. City of New York, 999 F.3d 157,

164 (2d Cir. 2021) (citations omitted); United States v. Aiyer, 33 F.4th 97, 113-14

(2d Cir. 2022) (citations omitted)

      The District Court’s denial of Appellant’s request for leave to file an amended

Complaint that included a new copyright registration (SPA11-12) is reviewed for



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abuse of discretion, except to the extent it implicates questions of law, which are

reviewed de novo. Zam & Zam Super Mkt., LLC v. Ignite Payments, LLC, 736 F.

App’x 274, 275-76 (2d Cir. 2018) (citation omitted).

II.   THE DISTRICT COURT’S CONCLUSION THAT “THE DEPOSIT
      COPY IS THE SOLE DEFINITION OF THE ELEMENTS INCLUDED
      IN THE PROTECTION OF COPYRIGHT” WAS REVERSIBLE
      ERROR

      The fundamental issue on this appeal, a legal issue of first impression in this

Circuit, is whether the LGIO “deposit copy” – the handwritten sheet music submitted

by Edward Townsend when he applied for copyright protection for the LGIO

composition in 1973 – defines and limits the scope of the protection he and his

successors received, or not.

      The District Court answered this question of law, erroneously, in the

affirmative, and then compounded its error twice – first by erroneously denying

Appellant’s request to amend the Complaint to add the additional copyright

registration, and then by erroneously limiting the scope of Appellant’s expert

evidence. The District Court’s erroneous “deposit copy” rulings – both on the legal

principle and on their proper application to the facts before the court – then led

directly to the court’s erroneous rulings on the “selection and arrangement” issue

and whether the combination of elements was “commonplace,” which were the basis

for the court’s ultimate grant of summary judgment to Appellees.




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      A.      The District Court’s “Deposit Copy” Analysis Lacked Foundation

      The entirety of the District Court’s analysis of the “deposit copy” legal

question can be found in a single paragraph of its ruling on Appellee’s motion in

limine:

      On July 17, 1973, in compliance with the then-applicable 1909
      Copyright Act Sections 9 and 12, 17 U.S.C. §§ 5(e), 9, 10, 12 (1964),
      Ed Townsend filed with the Copyright Office (through music
      publishers) the application for registration of the musical composition
      Let’s Get It On, and deposited two copies of the sheet music he had
      authored. The copyright was registered as No. EP 314589, and the
      sheet music deposited with the Copyright Office (“Deposit Copy”)
      defines “precisely what was the subject of copyright.” Merrell v. Tice,
      104 U.S. 557, 561, 26 L.Ed. 854 (1881). “[T]he scope of the copyright
      is limited by the deposit copy.” Skidmore v. Led Zeppelin, 952 F.3d
      1051, 1063 (9th Cir. 2020) (en banc). The Copyright Office instructs
      that “a registration for a work of authorship only covers the material
      that is included in the deposit copy(ies)” and “does not cover
      authorship that does not appear in the deposit copy(ies), even if the
      applicant expressly claims that authorship in the application.” U.S.
      Copyright Office, Compendium of U.S. Copyright Office Practices §
      504.2 (3d ed. 2017). As such, the Deposit Copy is the sole definition
      of the elements included in the protection of copyright, which does
      not include other embellishments, even if they were added by
      Townsend himself – because they have not undergone the copyright
      process.

SPA13-14. None of the sources cited by the District Court provide support for its

decision.




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               i.    Copyright Act of 19096

        The sections of 1909 Act cited by the District Court do not say that the deposit

copy defines the scope of copyright protection, but rather that deposits are required,

and that the deposit requirement is a prerequisite to bringing an infringement case:

        SEC. 10. That such person may obtain registration of his claim to
        copyright by complying with the provisions of this Act, including the
        deposit of copies, and upon such compliance the register of
        copyrights shall issue to him the certificate provided for in section
        fifty-five of this Act.

        SEC. 12. [I]f the work is not reproduced in copies for sale, there shall
        be deposited the copy, print, photograph, or other identifying
        reproduction provided by section eleven of this Act, such copies or
        copy, print, photograph, or other reproduction to be accompanied in
        each case by a claim of copyright. No action or proceeding shall be
        maintained for infringement of copyright in any work until the
        provisions of this Act with respect to the deposit of copies and
        registration of such work shall have been complied with.

17 U.S.C. §§ 10, 12 (1909) (emphasis added).7




6
  From 1790 to 1976, works were protected by state common law as they were
created and no registration was required. See Roy Export Estab. v. Columbia
Broadcasting, 672 F.2d 1095, 1101 (2d Cir. 1982) (“[s]tate law protection begins
with a work’s creation”); La Cienega Music Co. v. ZZ Top, 53 F.3d 950, 952-53
(9th Cir. 1995) (“an unpublished work was protected by state common law
copyright from the moment of its creation until it was either published or until it
received protection under the federal copyright scheme”). In the case of the LGIO
composition, it was protected at common law upon creation, as recorded. The
subsequent registration gave the composition federal protection, but did not shrink
the scope of protection already established at common law.
7
    Available at https://www.copyright.gov/history/1909act.pdf.


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               ii.   Merrell v. Tice

        The Supreme Court case of Merrell v. Tice – decided in 1881 – does not speak

to the proper interpretation of the Copyright Act of 1909.8 Moreover, the only

questions before the Court in that case were whether what Tice had submitted in

connection with his 1877 book (“Professor Tice’s Almanac”) were sufficient to

qualify as a proper deposit or not under the Copyright Act of 1790. Having decided

that question in the negative, because Tice had not shown the work was unpublished

at the time of registration under then-extant rules that only permitted copyright for

unpublished works, the Court, in dicta, speculated, without deciding, about what Mr.

Tice could have done to satisfy the requirement, adding: “one object no doubt being

to enable other authors to inspect them in order to ascertain precisely what was the

subject of copyright. But we express no opinion whether such a certificate would be

competent or not.” Merrell v. Tice, 104 U.S. 557, 561 (1881).

        This dicta neither asked nor answered the legal question of whether the scope

of a copyright registration was limited by the deposit copy (and in any event spoke

to the 1790 Act, rather than the 1909 Act). Placed in its proper context, it is clear

that the Supreme Court was not making any legal pronouncement as to the scope of

an otherwise valid registration. Moreover, whether the Court’s speculation was ever




8
    Skidmore, 952 F.3d at 1063.


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true, today’s composers are obviously not visiting the Library of Congress to inspect

deposit copies in order to “ascertain precisely what was the subject of copyright”

before writing their next hit song. It also makes no sense when applied to the most

basic elements of a copyright infringement claim: “(a) that the defendant had access

to the copyrighted work and (b) the substantial similarity of protectible material in

the two works.” Betty, Inc. v. Pepsico, Inc., 848 F. App’x 43, 44 (2d Cir. 2021)

(quoting Williams v. Crichton, 84 F.3d 581, 587 (2d Cir. 1996)). The burden on the

plaintiff is to prove access and substantial similarity to the work, not to the “deposit

copy” of the work. Indeed, in this case where access is undisputed (A930, 1400),

Sheeran admits that “he had heard the Marvin Gaye recording of LGO years before

he and Amy Wadge independently wrote TOL.” A75, 76 (emphasis added). There

is no suggestion by either side that Sheeran or Wadge accessed the “deposit copy”

on file with the Copyright Office, and yet access to the work is conceded and

undisputed.

              iii.   Skidmore v. Led Zeppelin

      In Skidmore, the Ninth Circuit, sitting en banc, decided that the scope of the

copyright before them was limited to the “deposit copy” submitted to the Copyright

Office. Skidmore v. Led Zeppelin, 952 F.3d 1051, 1063 (9th Cir.) (en banc), cert.

denied sub nom., 141 S. Ct. 453, reh’g denied, 141 S. Ct. 946 (2020). Fifteen days




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later, the District Court issued its “deposit copy” decision in Griffin, 9 and on

September 9, 2021, issued the nearly identical decision at issue here (SPA13-14).

        Skidmore, however, is lacking in legal authority to support its conclusion.

After first noting that under the 1909 Act, a registration could be made for an

unpublished work, the Ninth Circuit stated:

        The text [of the 1909 Act] is clear—for unpublished works, the author
        must deposit one complete copy of such work. The purpose of the
        deposit is to make a record of the claimed copyright, provide notice to
        third parties, and prevent confusion about the scope of the copyright.
        See Data Gen. Corp. v. Grumman Sys. Support Corp., 36 F.3d 1147,
        1161-62 (1st Cir. 1994) (the deposit requirement provides the
        “Copyright Office with sufficient material to identify the work in
        which the registrant claims a copyright ... [and] prevent[s] confusion
        about which work the author is attempting to register”), abrogated on
        other grounds by Reed Elsevier, Inc. v. Muchnick, 559 U.S. 154, 130
        S.Ct. 1237, 176 L.Ed.2d 18 (2010); Report of the Register of
        Copyrights on the General Revision of the U.S. Copyright Law 71
        (1961) (one of the purposes of the deposit is “to identify the work”
        being registered).

Id. at 1062-63.

        The cases Skidmore relies on do not support the Ninth Circuit’s conclusion.

Skidmore quotes selectively from the First Circuit’s Data General case, but the full

quote is more illuminating:

        Nor do the apparent purposes of the deposit requirement counsel a
        different result. Although related to the deposit requirement in Section
        407, which is designed to further the acquisitions policy of the Library
        of Congress, the deposit required by Section 408(b) serves the

9
    Griffin v. Sheeran, 17-cv-5221, 2020 WL 5522835 (S.D.N.Y. Mar. 24, 2020).


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      separate purpose of providing the Library’s Copyright Office with
      sufficient material to identify the work in which the registrant claims
      a copyright. See H.R.Rep. No. 94-1476, 94th Cong., 2d Sess. 5
      (1976), reprinted in 1976 U.S.C.C.A.N. 5659, 5766-70; see also 37
      C.F.R. § 202.20(c)(2)(vii) (requiring deposit of “identifying
      portions” of programs that are unpublished or published only in
      machine-readable form). In other words, a key purpose of the
      Section 408(b) deposit requirement is to prevent confusion about
      which work the author is attempting to register.

Data General, 36 F.3d at 1161-62 (emphasis added).

      As discussed below, in 2005 the district court in Nicholls v. Tufenkian

Imp./Exp. Ventures, Inc., 367 F.Supp.2d 514, 520 (S.D.N.Y. 2005) quoted Data

General to support its conclusion that courts are free to “interpret” copyright

registrations in a manner consistent with what the applicant intended to protect, even

if the materials contained within the deposit copy are more limited, such as the

sheet music here.

      The Data General court specifically cited – and the Skidmore court

specifically avoided referencing – the regulations concerning the submission of

deposit copies that show that the role of deposit copies is to provide minimal

identifying information, not to define the maximum bounds of protection, which

instead, is governed by what the author actually creates.




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         The final authority provided by Skidmore was a 1961 report by the Register

of Copyrights,10 the relevant portion of which reads as follows (under the heading

“Historical Development”):

         A system of copyright registration has been a basic feature of our
         copyright law from its beginning in 1790, and the deposit of material
         to identify the work being registered has always been required.. . . .

         Until 1909, copyright was secured by a registration made before the
         work was published. The deposit of certain material identifying the
         work was required for registration. After the work was published,
         copies of the published edition were required to be deposited.

         The pre-1909 law resulted in the forfeiture of copyright when works
         were inadvertently published before being registered. To avoid these
         forfeitures, the act of 1909 inaugurated the present system: copyright
         is now secured by publication of the work with the copyright notice,
         and registration is made later when copies of the work as published
         are deposited. The one deposit now serves both to identify the work
         for the registration record and to enrich the collections of the Library
         of Congress.

Report of the Register of Copyrights on the General Revision of the U.S. Copyright

Law 71 (1961) (emphasis added). As with the prior sources, what the Report says –

and all that it says – is that deposits “identify” the work. It does not say that they

“define,” “depict” or “limit” the work. Hence, the Data General court’s use of the

phrase “sufficient material to identify the work” and its reference to “identifying

portions” of the work. Data General, 36 F.3d at 1161-62 (emphasis added). None

of the authority cited by Skidmore states or even suggests that deposit copies limit


10
     Available at https://www.copyright.gov/history/1961_registers_report.pdf.


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the scope of copyright protection; to the contrary, they strongly suggest that deposit

copies serve the administrative role of providing minimal indicia.

              iv.    Compendium of U.S. Copyright Office Practices

        The District Court’s final source is the 2017 edition of the Compendium of

U.S. Copyright Office Practices. A few initial observations are appropriate. First,

the 2017 edition of the Compendium11 has been replaced by the 2021 revision.12

Second, just as the 1881 Merrell v. Tice decision related to the 1790 Act, rather than

1909 Act, the current Compendium is intended to elucidate the Copyright Office’s

view of the now-operative 1976 Act. See 2021 Compendium at 5 (“the Third Edition

generally does not address practices under the Copyright Act of 1909”). Third, the

Compendium – a 1,396-page “administrative manual”13 – is not a legal authority:

        the Compendium is a non-binding administrative manual that at
        most merits deference under Skidmore v. Swift & Co., 323 U.S. 134,
        65 S.Ct. 161, 89 L.Ed. 124 (1944). That means we must follow it only
        to the extent it has the “power to persuade.” Id., at 140, 65 S.Ct. 161.
        Because our precedents answer the question before us, we find any
        competing guidance in the Compendium unpersuasive.




11
  Available at
https://www.copyright.gov/comp3/2017version/docs/compendium.pdf (“2017
Compendium“).
12
 Available at https://www.copyright.gov/comp3/docs/compendium.pdf (“2021
Compendium“).
13
     2021 Compendium at 1.


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Georgia v. Public.Resource.Org, Inc., 590 U.S. __, 140 S. Ct. 1498, 1510 (2020)

(emphasis added). Similarly, as one of this Circuit’s courts explained it:

      The Copyright Office’s Circulars and Compendium II should be
      afforded this lesser deference, or Skidmore deference, so long as the
      Copyright Office’s interpretations do not conflict with the express
      statutory language of the Copyright Act.

Muench Photography, Inc. v. Houghton Mifflin Harcourt Pub. Co., 712 F. Supp.2d

84, 91 (S.D.N.Y. 2010) (emphasis added), reconsid. in part, 09-cv-2669, 2010 WL

3958841 (S.D.N.Y. Sept. 27, 2010).

      As discussed above, the text of the 1909 Act does not state that deposit copies

define and limit the scope of copyright protection. The Compendium, especially the

current iteration of the Compendium, should either be given “lesser deference,” or

no deference at all, in view of the express statutory language of the 1909 Act.

      Turning to what the District Court actually cites the Compendium for, again

the excerpted language must be reviewed in proper context:

      Ordinarily, a registration for a work of authorship only covers the
      material that is included in the deposit copy(ies). It does not cover
      authorship that does not appear in the deposit copy(ies), even if the
      applicant expressly claims that authorship in the application.. . . .

      A work of authorship that is registered with identifying material
      or based on a grant of special relief may cover the entire
      copyrightable content of the work, notwithstanding the fact that
      the applicant did not submit a copy of the entire work.

2021 Compendium § 504.2 (emphasis added).




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       A plain reading of the foregoing is clear: under the current administrative

policy of the Copyright Office, it will accept less-than-whole deposit copies, but

nevertheless provide registrants with protection beyond the four corners of the

deposits in at least some circumstances. Thus, even if the Court were to accept the

2021 Compendium‘s statement that current Copyright Office policy is to provide

unequal treatment to different types of registrants, it does not speak to the Copyright

Office policies of 1973 when Edward Townsend filed the deposit copy at issue in

this case.

       The District Court attempted to justify its ruling by noting that the elements

of the LGIO musical composition that it did not see on the handwritten sheet music

were excluded “because they have not undergone the copyright process.” SPA14.

That logic falls apart immediately and completely when one realizes that the

Copyright Office accepts “identifying material,” rather than complete copies, in

connection with numerous types of copyrighted works, and protects the entire works,

even though portions of the material, in the District Court’s view, have obviously

not “undergone the copyright process.”

       B.      The Supreme Court And Professor Nimmer Specifically Caution
               Against Limitations On The Scope Of Copyrights Based On Past
               Practice

       In 1973 (the same year Edward Townsend applied for copyright protection),

the Supreme Court wrote the following about the 1909 Copyright Act:



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      To interpret accurately Congress’ intended purpose in passing the
      1909 Act and the meaning of the House Report petitioners cite, we
      must remember that our modern technology differs greatly from that
      which existed in 1909. The Act and the report should not be read
      as if they were written today, for to do so would inevitably distort
      their intended meaning; rather, we must read them against the
      background of 1909, in which they were written.

      In 1831, Congress first extended federal copyright protection to
      original musical compositions. An individual who possessed such a
      copyright had the exclusive authority to sell copies of the musical
      score [i.e., the sheet music]; individuals who purchased such a copy
      did so for the most part to play the composition at home on a piano or
      other instrument. Between 1831 and 1909, numerous machines
      were invented which allowed the composition to be reproduced
      mechanically….It is against this background that Congress passed the
      1909 statute. After pointedly waiting for the Court’s decision in
      White-Smith Music Publishing Co., Congress determined that the
      copyright statutes should be amended to insure that composers of
      original musical works received adequate protection to encourage
      further artistic and creative effort.

Goldstein v. California, 412 U.S. 546, 564 (1973) (emphasis added) (citing White-

Smith Music Pub. Co. v. Apollo Co., 209 U.S. 1 (1908)).

      That the Copyright Office only accepted sheet music as deposit copies (and

not sound recordings) under the 1909 Act is entirely consistent with the historical

framework Goldstein provides, for just as it had not yet dawned on copyright owners

to consider nascent or unborn technology to be a “copy” of music for protection

purposes, the Copyright Office was not accepting piano rolls and the like as deposit

copies for musical compositions. Today (and since the enactment of the 1976 Act)

it is beyond question that musical recordings can serve as deposit copies for



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registrations of both recordings and compositions, and the Copyright Office changed

its regulations effective January 1, 1978 to permit such recordings to be used for

purposes of deposit copies. Skidmore, supra, 952 F.3d at 1062.

       It would be unfair to creators of earlier musical works, however, to limit the

manner in which musical compositions can be represented as deposit copies to sheet

music for earlier works, but to include recordings for later ones. Nothing in the Act

supports giving later-created works greater protection that those registered before.

      Professor Nimmer explains that the Copyright Office’s sheet music

requirement was tied directly to the twin historical (and now out-of-date) views that

registration required written notice, and that musical compositions could not be

protected unless reduced to written sheet music:

      Because, under the 1909 Act, copyright protection required the
      placement of notice on copies (and likewise the deposit of copies
      ancillary to registration), it followed that a musical work could not
      claim copyright unless the notice and deposit requirements were
      satisfied with respect to an object that constituted a visibly
      intelligible notation. Therefore, in order to claim copyright in a
      musical work under the 1909 Act, the work had to be reduced to sheet
      music or other manuscript form.

1 Nimmer on Copyright § 2.05 (2023) (emphasis added).

      Thereafter, Professor Nimmer explains, both of those views changed radically:

      In contrast to the strictures just described, the 1976 Act conveys
      copyright protection to a musical work, as soon as it is “fixed in any
      tangible medium of expression,” regardless of the nature of that
      medium. Specifically, it is no longer necessary that the medium be
      visibly intelligible. The fact that the grooves on a phonograph record


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      may not be “read” therefore serves as no bar to the copyrighting of a
      musical work by fixing it in record form. Thus, it is possible to obtain
      statutory copyright over a work merely by recording it, without
      reducing it to written form in conventional musical notation. This
      sweeping departure from the 1909 Act represents an intentional
      overruling of White-Smith.

Id. (emphasis added).

      Professor Nimmer is thus consistent with the incorrectness of any prior policy

of the U.S. Copyright Office to accept only sheet music or equivalent written

notational forms as deposit copies. It would be inconsistent and inequitable to limit

the scope of rights of copyright holders for works first registered under the 1909 Act

on this basis as well.

      C.     Deposit Copies Identify – But Are Never Identical To – Underlying
             Copyrighted Works

      By contrast to the out-of-context or incorrect authorities relied on by the

District Court, a decision from within this Circuit sets forth the correct rule that

applies here. In Nicholls v. Tufenkian Imp./Exp. Ventures, Inc., 367 F.Supp.2d 514

(S.D.N.Y. 2005), the District Court rejected defendant’s argument that the scope of

plaintiff’s copyright should be limited to its deposit copy:

      The force of this argument must be assessed in light of the dual
      purposes of the deposit requirement, which are: (1) to provide the
      Copyright Office with “sufficient material to identify the work in
      which the registrant claims a copyright” and (2) “to furnish the
      Copyright Office with an opportunity to assess the copyrightability of
      the applicant’s work.”




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Id. at 520 (quoting Data General, 36 F.3d at 1161-62 and citing 17 U.S.C. § 408(b)).

The court went on – correctly – to find that the scope of plaintiff’s copyright was

not limited by its deposit copy:

      These goals are not undermined by interpreting the copyright here
      to include any color way consistent with the Prado design as
      defined by the wire frame diagram, even though an example of only
      one such color way was deposited with the Copyright Office.

Id. (emphasis added); see also FireSabre Consulting LLC v. Sheehy, 11-cv-4719,

2013 WL 5420977, at *6 (S.D.N.Y. Sept. 26, 2013) (endorsing Nicholls’ approach

to deposit copies).

      Musical compositions – like dance and other forms of art – are by their nature

somewhat ephemeral, even when fixed in acceptable industry-wide form. Musical

notation is a way of trying to capture the ephemeral in the physical, but it is and has

always been limited in its ability to capture every nuance of the work. Even musical

recordings have their limitations, and the different types of recording technology

have their respective advantages and disadvantages (e.g., vinyl records versus

Internet streaming). Deposit copies do not, and were never meant to be, a

limitation on the scope of the copyright they represent. They serve an identifying

function, but nothing in the statute (whether the 1909 Act or the 1976 Act) says

that the deposit copy takes the place of the underlying creation.




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      D.     Adopting the Compendium’s Administrative Approach to Deposit
             Copies as Law Improperly Would Treat Registrants of Different
             Types of Works Unequally Under the Copyright Act

      As noted, the Copyright Office’s refusal until 1978 to accept sound recordings

as deposit copies for underlying musical compositions was wrong as a matter of law.

But even if the Court affords the current Compendium some measure of lesser

deference, other sections of the Compendium further support Appellant’s position,

in contravention of the District Court’s conclusion. The Compendium definition of

“identifying material” is:

      Identifying material (“ID material”): An alternative deposit copy
      permitted or required under U.S. Copyright Office regulations for
      registration...is material that adequately represents the authorship
      claimed in an unpublished or published work, whether the regulations
      permit a substitute or whether it is a required substitute for the actual
      work...

2021 Compendium Glossary at 10 (emphasis added). “Adequately represents the

authorship claimed,” in the words of the Compendium, is inconsistent with – indeed

it is directly contrary to – the conjecture in Merrell v. Tice (“enable other authors to

inspect them”), and instead hews closer to the approach in Data General concerning

the 1909 Act (“sufficient material to identify”).

      The 2021 Compendium then devotes significant space to 20 different types of

works for which applicants can satisfy the deposit requirement with “identifying

material,” including “[m]usical works published in motion pictures”:

      • Computer programs


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• Databases

• Compilations or other types of literary works fixed or published
  solely in machine-readable copies

• GATT Literary Works

• Musical works published in motion pictures

• Audiovisual works that have not been fixed on CD-ROM

• Unpublished motion pictures

• Audiovisual works, musical compositions, or sound recordings
  fixed or published solely in machine-readable copies

• GATT Works of the Performing Arts

• Unpublished pictorial or graphic works

• Pictorial or graphic works published in a limited edition

• Pictorial or graphic works reproduced in sheet-like material

• Prints, labels, and other advertising matter that is inseparable from
  a three-dimensional object

• Pictorial or graphic works reproduced on three-dimensional
  containers or holders

• Three-dimensional visual arts works

• Two- or three-dimensional holograms

• Architectural works

• Pictorial or graphic works fixed or published solely in machine-
  readable copies

• GATT Visual Arts Works

• Any work that is more than ninety-six inches in any dimension


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See 2021 Compendium § 1506.

      Assuming, arguendo, that there are valid administrative reasons for the

Copyright Office to allow the submission of “identifying materials” – “material that

adequately represents the authorship claimed” – rather than complete copies of the

works being registered for some works rather than others, and that by extension there

are valid administrative reasons to provide rules for the form of registration for

authors of works other than the 20 enumerated categories, it is impermissible to

apply the Copyright Act to registrants of different types of works inequitably, and

the Copyright Office does not have the statutory authority to do so through its

administrative policies and procedures.

      For example, in the cases of “redacted versions of secure tests” and “portions

of computer source code” (two of the Compendium’s examples provided in its

definition of “identifying material”), the Copyright Office has administratively

decided to value the need to protect registrants’ competitive information and trade

secrets from discovery by competitors above the need of authors (who may also be

competitors) to inspect the full versions of the registered works, even if it means

they will not know whether certain content is or is not protected. To be clear,

the Copyright Office has also administratively permitted “identifying material” even

in the absence of any competing trade secret concerns. See, e.g., 2021 Compendium

§ 1509.1(F)(3) (with respect to “Source Code That Does Not Contain Trade Secret



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Material,” “applicant should submit one copy of the first twenty-five pages and the

last twenty-five pages of the source code for that version” or “fifty pages that

represent the specific version”).

      Similarly, when it comes to “three-dimensional visual arts works,” i.e.,

sculptures, the Copyright Office obviously does not require (or even allow) the

submission of the actual works as deposits, but rather requires the deposit of two-

dimensional representations, i.e., photographs:

      When registering statues, carvings, ceramics, moldings, constructions,
      models, maquettes, dolls, toys, stuffed animals, puppets, or other
      three-dimensional sculptural works, the applicant generally must
      submit identifying material instead of submitting an actual copy of
      the work, regardless of whether the work is published or unpublished.
      37 C.F.R. § 202.20(c)(2)(xi)(A)(1). Likewise, the applicant generally
      must submit identifying material instead of submitting an actual
      copy of the work when registering jewelry or when registering any
      three-dimensional work that is embodied in a useful article. Id. §
      202.20(c)(2)(xi)(A)(2).

2021 Compendium § 1509.3(B)(1). In Nicholls, supra, the court protected the

copyrighted work in all color permutations, and not just the color of the deposit copy.

Likewise, the Copyright Office does not limit the scope of protection for three-

dimensional objects to the two-dimensional identifying material submitted as

deposits, and does not restrict the zone of protection for any such work to its

identifying material.

      Likewise, no musical notation format can truly capture the complexity and

nuance of a musical composition when played or copied by a would-be infringer


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who listens to the sound recording, as here. Simply put, sheet music is never the

same as the music it depicts, but is merely an approximation of it. Indeed, in the

parlance of the Copyright Office, sheet music is “identifying material” with respect

to the musical composition it attempts to represent, no more and no less than all the

other types of identifying material that the Copyright Office accepts for myriad

reasons.

      In view of the foregoing, both the Merrell v. Tice formulation from 1881

(“enable other authors to inspect them”) and the District Court’s formulation from

2022 (“because they have not undergone the copyright process”) are simply wrong,

and neither can possibly be a correct recitation of the law, as it would only harm the

very people the Copyright Act and the Copyright Office are tasked with protecting.

      E.     The District Court’s Approach to Deposit Copies Would Treat
             Owners of “United States Works” and Foreign Works Differently,
             in Apparent Violation of the Berne Convention

      The Copyright Act requires that federal registration is a prerequisite to

bringing an infringement action for “any United States work.” 17 U.S.C. § 411(a).

“United States work” is defined based on where it was first published, or (if it was

not published), the nationality of the authors. 17 U.S.C. § 101. Works that do not

qualify as “United States works” are “foreign works,” and they are also eligible for

protection under the Copyright Act. In Itar-Tass Russian News Agency v. Russian

Kurier, Inc., 153 F.3d 82 (2d Cir. 1998), this Court recognized that the Copyright



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Act – through applicable international treaties – allows the owners of foreign works

to bring actions for copyright infringement in the United States. Under Article 5(2)

of the Berne Convention for the Protection of Literary and Artistic Works (“Berne

Convention”), “enjoyment and the exercise of these rights shall not be subject to any

formality…the extent of protection, as well as the means of redress afforded to the

author to protect his rights, shall be governed exclusively by the laws of the country

where protection is claimed.”14 The need for equal treatment was recognized by the

Supreme Court in 2012:

      Congress determined that U.S. interests were best served by our full
      participation in the dominant system of international copyright
      protection. Those interests include ensuring exemplary compliance
      with our international obligations, securing greater protection for U.S.
      authors abroad, and remedying unequal treatment of foreign authors.

Golan v. Holder, 565 U.S. 302, 335 (2012) (affirming decision restoring copyright

protection to certain foreign works that would have fallen (or had already fallen) into

public domain).

      When the foreign copyright law applicable to the work at issue does not

require registration, the Copyright Act and the Berne Convention instruct that the

plaintiff can bring claims for copyright infringement in the United States without




14
  Berne Convention for the Protection of Literary and Artistic Works, Paris Act of
1971, reprinted in, S. TREATY DOC. NO. 27, 99th Cong., 2d Sess. 1 (1986)
(available at https://www.law.cornell.edu/treaties/berne/5.html).


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securing a federal registration. Super Express USA Publ’g Corp. v. Spring Publ’g

Corp., 2018 WL 1559764, at *3 (E.D.N.Y. Mar. 30, 2018). In such circumstances,

where the plaintiff need not file a federal registration as a prerequisite for bringing a

copyright infringement claim, there is self-evidently no deposit copy on file with the

Copyright Office, and thus no deposit copy to theoretically define or limit the scope

of the plaintiff’s copyright. Rather, the scope of such a plaintiff’s copyright will be

determined by evidence, such as testimony and documents (including audio and

video recordings) that speak to the nature and scope of the copyright.

      This creates a serious problem under the District Court’s “deposit copy”

formulation, in that the plaintiff in a copyright infringement action based on the

infringement of a United States work would be limited by the deposit copy on file

with the Copyright Office, but an equivalent plaintiff in an equivalent copyright

infringement action based on a foreign work would not be so limited. Thus, if LGIO

had been a foreign work, rather than United States work, Appellant would have been

able to maintain the full scope of its infringement claim, and would have been able

to introduce the LGIO sound recording as evidence of the scope of the LGIO

copyright. The District Court’s position – that “Deposit Copy is the sole definition

of the elements included in the protection of copyright” (SPA14) – has the effect of

penalizing owners of United States works, and making it more difficult for them to




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bring copyright infringement claims, than for their counterpart owners of foreign

works.

       Once again, the District Court’s justification for excluding “embellishments”

not found in the deposit copy – “because they have not undergone the copyright

process” (SPA14) – falls apart. Foreign works have no deposit copies, which in the

District Court’s view would mean that the entirety of those works “have not

undergone the copyright process.” And yet the Copyright Act, implementing the

Berne Convention, gives those works complete protection.

       The District Court’s “deposit copy” decision is error, and should be reversed.

III.   THE DISTRICT COURT ERRONEOUSLY DENIED APPELLANT’S
       REQUEST TO AMEND THE COMPLAINT TO ADD AN
       ADDITIONAL REGISTRATION

       In April and May 2020, shortly after the Ninth Circuit’s en banc decision in

Skidmore, but long before the District Court’s “deposit copy” decision, Appellant

began writing to the Court regarding its plan to address the “deposit copy” issue by

securing an additional LGIO copyright registration using a sound recording of LGIO

as deposit copy, ultimately advising the Court that the additional registration had

been secured, and seeking leave to amend the Complaint to include it. A302-03,

319-94, 398-421.15


15
  Appellant’s request at that time for permission to move for determination of the
“deposit copy” issues (A303) was also denied. ECF 151, 155.


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      On May 13, 2020, however, 16 months before it even issued its “deposit copy”

decision, the District Court said that it would “deny permission to file the Fourth

Amended Complaint.”        SPA11-12.      Had the District Court allowed for the

amendment of the Complaint and the inclusion of the 2020 Registration, Appellant

would have been able to include musical elements that the District Court otherwise

excluded, as discussed below (such as the bass line), which is unequivocally

included within the deposit copy for the 2020 registration.

      The denial of the amendment was error. Although such an amendment may

not “relate back” to the original filing under Rule 15, it was entirely appropriate with

respect to ongoing damages, as Appellees continue to exploit TOL and infringe

LGIO. The amendment was thus necessary to the fair administration of justice.

When Townsend filed the 1973 registration, the Copyright Office would not permit

the use of the 1973 sound recording as part of the deposit copy. And, prior to

Skidmore, no Court had ever ruled that a sound recording could not provide evidence

of the scope of the copyright in a pre-1978 musical composition. Thus, there was

no reason for Appellant (or the other Townsend successors) to file a new registration

including the sound recording until after Skidmore was decided. Adding the new

registration would not have changed the scope of fact discovery, which was already

concluded, and would have only required minimal amendments to any already-




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issued expert reports.16 The amendment was first proposed three years before the

related Griffin case went to trial, and thus Appellees would not have been prejudiced

by its timing. By contrast, even if the District Court’s interpretation of the 1973

deposit copy as including only the sheet music were correct, not permitting the

amendment severely prejudiced Appellant, as reflected by the series of decisions that

followed. Twisted Records v. Rauhofer, 03-cv-2644, 2005 WL 517328, at *6

(S.D.N.Y. Mar. 3, 2005) (“[m]ere delay, absent a showing of bad faith or undue

prejudice, does not provide a basis for denying a motion to amend”) (citing Block v.

First Blood Assocs., 988 F.2d 344, 350 (2d Cir. 1993) (quoting State Teachers

Retirement Bd. v. Fluor Corp., 654 F.2d 843, 856 (2d Cir. 1981)).17




16
  Indeed, Appellant’s experts’ original reports, which were written before the
deposit copy rulings, included the sound recording in the analysis. A400, 453-
501, 623-659, 698-711.
17
   As Appellees will likely point out, after the District Court denied Appellant’s
application to amend the Complaint, Appellant filed a new copyright infringement
lawsuit based on the 1973 and 2020 Registrations. Complaint, Structured Asset
Sales, LLC v. Sheeran, 1:20-cv-04329 (S.D.N.Y.) ECF 1 (June 8, 2020). That case
is now stayed, pending the outcome of this Appeal. Id. ECF 101 (May 24, 2023).
Appellant only filed that case, however, because the District Court denied its
request to amend. Had that request been granted, or if its denial is reversed
through this appeal, Appellant will have no need to proceed with the new lawsuit.


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IV.   THE DISTRICT COURT’S IMPLEMENTATION OF ITS “DEPOSIT
      COPY” RULING TO PROHIBIT APPELLANT’S EXPERTS FROM
      INTERPETING THE DEPOSIT COPY WAS ERRONEOUS

      Even if the 1973 sound recording cannot be considered as within the scope

under either the 1973 or 2020 registrations as discussed above, the District Court

also erroneously prohibited Appellant from introducing expert evidence regarding

the proper interpretation of the LGIO 1973 deposit copy, writing:

      Nor is the field of protected elements enlarged on the theory that they
      are consistent, and harmonize with the work as articulated in the
      Deposit Copy, and are implied by the way the articulated elements are
      expressed. If what is implied is not in the Deposit Copy, it does not
      have the protection of copyright.

      ….

      Plaintiffs experts’ produced opinions basing infringement on an
      asserted similarity between Thinking Out Loud and a combination of
      three elements in LGO called the ‘backing pattern.’ It consisted of the
      chord progression, the harmonic anticipation of chord changes (both
      of which are commonplace and unprotectable), and a bass line. There
      is no bass line in the LGO Deposit Copy. This led to the concoction
      of remedial theories – e.g. that if you string together the lowest notes
      in the Deposit Copy you will “find” a bass line; that the remaining
      two elements are its “functional equivalence” – which have serious
      analytic problems.

      The present point is that none of that could be discerned by
      examining the Deposit Copy.

SPA14-15 (emphasis added). With respect, the District Court erroneously used its

own layperson views as to what could be “discerned” from “examining” the sheet

music deposit copy with those of Appellant’s expert musicologists, ordering the



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removal of significant portions of Appellant’s expert reports and the improper

narrowing of Appellant’s selection and arrangement claim from “many” elements18

to (after the elimination of, inter alia, the bass line) just two.

       What the District Court did with respect to Appellant’s experts would be the

equivalent of a court prohibiting a qualified French linguistics expert from testifying

as to the proper interpretation or pronunciation of written French words, and

substituting instead the court’s layperson estimation.

       An examples of expert opinion that were removed from the case as a result of

the ruling are the following analyses from Dr. John Covach’s opening and rebuttal

reports regarding his expert opinion as to the bass line indicated by the deposit copy

sheet music:

       8. It should be noted that the sheet music of “Let’s Get It On” does not
       notate a separate bass part. This sheet music deposit copy is in “lead
       sheet” format—a form of notation that is extremely common in the
       notation of popular music. A lead sheet typically provides the melody
       notated on the treble clef, with lyrics below and chord symbols above.
       Example 2c shows the first four measures of the “deposit copy” sheet
       music for “Let’s Get It On.” But even though a bass part is not
       specified here, any performer must play a bass line of some kind in
       order to realize the content of the lead sheet. After all, there must be a
       lowest-sounding note in any musical realization. The most direct and
       basic practice is for the bass line to be formed from the roots of
       each the chords specified above the melody in the lead sheet.


18
  “The Gaye sound recording contains many elements: percussion/drums, bass-
guitar, guitars, Gaye’s vocal performances, horns, flutes, etc., which do not appear
in the simple melody of the Deposit Copy.” SPA 14.


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     Example 2c (Gaye-Townsend): lead sheet showing melody, lyrics,
     and chord symbols




     Since the chords specified are Eb – G minor – Ab – Bb7, the most
     obvious bass line is simply a succession of the notes Eb – G – Ab –
     Bb, and this is precisely what musicians would understand the
     lead sheet to be specifying. Thus, a specific bass line is indicated
     by the chord symbols on the lead sheet, even though it is not
     notated separately.

A1495-96 (emphasis added).

                      III. The Bass Part: Is It the Bass Line?

     6. The deposit copy of LGO consists of the melody, the lyrics, and
     precisely placed chord symbols; this type of format is called a “lead
     sheet.” This deposit copy of LGO does not include a notated bass
     part. In the sense that I use it in my report, a “bass part” is that
     which is empirically and logically derived from the lead sheet
     itself. It is the simplest and most obvious bass line that one versed
     in reading music would play if asked to play what is on the page.
     When a song is played from reading a lead sheet, a bass part must be
     derived from the chord symbols. Once it is derived and is played by
     the left hand in the piano, or by a bass guitar, even by a tuba or a low
     voice in an a cappella setting, a “bass line” is created. This is entirely
     in the nature of lead-sheet realization. In fact, since only chord
     symbols are provided, there are any number of ways in which these
     chords could be played in performance as well. In my report, I posit
     the bass part that is the most obvious one. If presented with the
     chord progression I – iii – IV – V and asked to provide the
     simplest and most obvious bass part, musicians would
     overwhelmingly posit the one I provide in my report. . . .
     [Appellees’ expert] argues that other variants are possible, but the one
     I provide is the most simple and direct one that a musician or
     musicologist would play from that lead sheet.


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      7. …If one posited the simplest and most obvious bass part for
      TOL based only on this progression, it would be 1 – 1 – 4 – 5; there
      is no reason whatsoever to think that the second note in the bass part
      would change from repeating 1 before moving to 4. But TOL uses the
      1 – 3 – 4 – 5 bass part to create the chord progression I – i6 – IV – V.
      Of the vast possibility of variants Sheeran and Wadge could have used
      (following precisely the argument [Appellees’ expert] employs in his
      discussion of bass lines), they chose the very one, 1 – 3 – 4 – 5, that
      duplicates the bass part found in LGO.

A1554-55 (emphasis added).

      Appellant’s expert musicologists prepared expert reports that included, inter

alia, a bass line as part of the scope of the LGIO composition, and provided expert

opinion as to how experienced musicians would understand that the bass line was

present even in the sheet music filed with the Copyright Office in 1973. The District

Court disregarded that testimony entirely and ordered that Appellant’s experts

reports excise from their reports any and all references to the bass line and any other

elements that the District Court felt could not be “discerned” from the District

Court’s own reading of the sheet music. The District Court “should not, however,

have substituted its own views of ‘reasonable reliance’ for those of the experts.” In

re Agent Orange Prod. Liab. Litig., 611 F. Supp. 1223, 1244 (E.D.N.Y. 1985), aff’d

sub nom., MDL No. 381, 818 F.2d 187 (2d Cir. 1987).

      Appellant’s experts explained how skilled and trained musicians, such as

themselves, would read the LGIO sheet music and what bass line they would most

likely play, based on their training. Predictions as to how a certain class of persons



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will behave under certain circumstances is something that fits comfortably in the

zone of topics upon which our Courts allow experts to testify. McCullock v. H.B.

Fuller Co., 61 F.3d 1038, 1043 (2d Cir. 1995) (“Woolley’s background and practical

experience qualify as ‘specialized knowledge’ gained through ‘experience, training,

or education,’ and his testimony was properly admitted”) (quoting Fed. R. Evid. 702);

New York v. Shinnecock Indian Nation, 523 F. Supp. 2d 185, 288 (E.D.N.Y. 2007),

as amended (Feb. 7, 2008) (“The fact that these require some level of prediction

about future human behavior, and that reasonable minds can differ regarding a

particular assumption by an expert, does not mean that the testimony is useless”),

vacated and remanded on other grounds, 686 F.3d 133 (2d Cir. 2012); United States

v. Am. Exp. Co., 10-cv-4496, 2014 WL 2879811, at *16 (E.D.N.Y. June 24, 2014)

(reserving decision as to whether expert could “predict how merchants would likely

alter their practices in the absence of [] contractual restraints” until void dire at trial).

       In this way, the District Court erred in its restriction of Appellant’s experts

from rendering their interpretations of the deposit copy, rather than waiting for voir

dire or cross examination of the experts at trial. Nicholls v. Tufenkian Imp./Exp.

Ventures, Inc., 367 F. Supp. 2d 514, 520 (S.D.N.Y. 2005) (finding goals of deposit

copy “are not undermined by interpreting the copyright here”) (emphasis added).

       The impact of this ruling was particularly harsh here, as it not only limited the

scope of Appellant’s experts’ reports, but then the District Court used that ruling to



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first narrow, and then dismiss, Appellant’s entire case. The direct result of the

District Court’s overbroad deposit copy ruling was to limit Appellant’s “selection

and arrangement” infringement theory to one that comprised only two such elements.

As discussed below, this led directly to additional errors by the District Court.

V.    THE DISTRICT COURT’S “SELECTION AND ARRANGEMENT”
      RULINGS WERE ERRONEOUS

      The District Court’s erroneous “deposit copy” ruling, coupled with its own

interpretation of the 1973 sheet music (and, inter alia, its perceived lack of a bass

line), had the direct effect of narrowing the allowed scope of Appellant’s copyright

infringement claim to two elements:

      SAS’s infringement claim is based on Sheeran’s alleged copying of
      the combination of two elements from LGO’s Deposit Copy into
      TOL: (1) the chord progression; and (2) the particular way in which
      anticipation is used in connection with the chord progression
      (“Harmonic Rhythm”) (collectively the “Backing Pattern”).

SPA23. The District Court initially held that each of the two elements was not

protectible on their own, but that there was a disputed question of material fact as to

the combination of the elements:

      The parties’ experts disagree as to whether the combination of the
      chord progression and harmonic rhythm present in both compositions
      is original and thus protectable. They squarely dispute whether that
      combination was commonplace before LGO:

      ….




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      The experts’ disagreement on whether the backing pattern is
      sufficiently uncommon to warrant copyright protection is a genuine
      dispute as to a material fact, preventing summary judgment.

SPA24-25 (emphasis added).

      The District Court also found that there were disputed questions of material

fact as to whether that combination made LGIO and TOL substantially similar:

      Although the two musical compositions are not identical, a jury could
      find that the overlap between the songs’ combination of chord
      progression and harmonic rhythm is very close. Accordingly,
      questions remain that are not resolvable by summary judgment, but
      require trial.

      ….

      As evidenced by the differences in opinions of the parties’ experts,
      the question of whether TOL is substantially similar to LGO cannot
      be resolved summarily and is left for trial.

SPA27, 29 (emphasis added).

      Appellees had argued that, notwithstanding the conflicting opinions of the

parties’ experts, Appellant could not prevail – as a matter of law – because “the

combination of two unprotectable elements is not sufficiently numerous or original

to constitute an original work entitled to copyright protection under the ‘selection

and arrangement’ theory of liability.” SPA23. The District Court initially ruled –

as a matter of law – that Appellees were incorrect, writing:

      The law does not support Sheeran’s contention that the combination
      of LGO’s chord progression and harmonic rhythm is insufficiently
      original to warrant it copyrightable. There is no bright-line rule that



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      the combination of two unprotectable elements is insufficiently
      numerous to constitute an original work.

SPA23.

      Having found no basis in law on which to side with Appellees on the

numerosity issue, the District Court ruled that all of the questions surrounding the

protectability of the LGIO selection and arrangement must be left to the jury.

SPA24. The District Court was correct in its legal conclusion regarding numerosity.

There was and remains no case anywhere that supports Appellees’ argument that

two elements cannot qualify for a selection and arrangement-based infringement

claim. The District Court should have left its initial selection and arrangement ruling

intact, rather than granting re-argument and reversing its position.

      In May 2023, perhaps influenced by the outcome of the non-binding Griffin

trial, the District Court granted Appellees’ motion for reargument (which had been

pending for over six months) and reversed its initial ruling on selection and

arrangement. SPA37-52. The District Court did not, however, revise its prior

holding that “[t]here is no bright-line rule that the combination of two unprotectable

elements is insufficiently numerous to constitute an original work” (SPA23).

Indeed, it repeated it:

      There is no bright-line rule dictating the threshold over which a
      specific number of unprotectable elements in a work must pass to
      become sufficiently numerous to protect the aesthetic decision to
      select and arrange them in an original way.



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SPA45. Yet, the District Court strangely characterized its prior decision as having

“declined to grapple” with the ultimate question. SPA44. To the contrary, and with

all due respect, the District Court had grappled with it and ruled in favor of Appellant.

The District Court then wrote that after its September 2022 ruling, “courts in this

Circuit have started to weigh the numerosity of the elements when deciding whether

their combination should be protected.” SPA44-45. The District Court then cited a

single district court case with non-analogous facts to support its statement

regarding what “courts in this Circuit” have done, namely Nwosuocha v. Glover, 21-

cv-04047, 2023 WL 2632158 (S.D.N.Y. Mar. 24, 2023).

      Any reliance on Nwosuocha, however, is flawed. First, Nwosuocha is another

district court decision with no binding authority on the District Court (or, certainly,

this Court). Second, Nwosuocha neither asked nor answered the question of whether

there is a minimum number of elements sufficient to make out a “selection and

arrangement claim.” Third, the District Court’s characterization of the case’s

holding is incorrect. The District Court claimed that the Nwosuocha decision

“implied a high threshold for numerosity when it found that a combination of eight

unprotected musical elements was ‘categorically ineligible for copyright protection.’”

SPA45 (quoting Nwosuocha, 2023 WL 2632158 at *7). But what the Nwosuocha

opinion actually says is the following:

      The Court finds that the “distinct and unique vocal cadence, delivery,
      rhythm, timing, phrasing, meter and/or pattern” or “flow” as well as

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       the “lyrical theme” and “structure” of the chorus in Plaintiff’s
       Composition lack sufficient originality alone, or as combined, to merit
       compositional copyright protection or are categorically ineligible for
       copyright protection. (Complaint ¶ 39.) For instance, Nwosuocha
       asserts copyright over the “lyrical theme” of Plaintiff’s Composition,
       but a lyrical theme is simply an idea, and ideas are not protectable.
       Moreover, the idea of a boastful rapper is certainly not original to
       Nwosuocha.

Nwosuocha v. Glover, 21-cv-04047, 2023 WL 2632158, at *7 (S.D.N.Y. Mar. 24,

2023) (emphasis added).           The elements at issue in the way the plaintiff in

Nwosuocha framed its claim were amorphous ideas, as opposed to the specific

alleged musicological similarities between LGIO and TOL as set out in the expert

musicologist reports of both sides. The “categorically ineligible for copyright

protection,” as reflected in the full quote above, was not a commentary on the

“selection and arrangement” claim, and was certainly not a holding or legal

pronouncement on the “numerosity” issue. It was merely an observation that the

plaintiff’s argument in that case was based on elements that can never be protected

under copyright law, either because they are ideas, or because they are scenes-a-

faire lacking in originality.19   The District Court’s conclusion that a “selection and




19
  Besides Nwosuocha, the District Court’s only further support for reversing its
position on the test for numerosity appears to be a 2003 dictionary definition,
which certainly was not a new development during the period after September
2022 and before May 2023. SPA47.


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arrangement” claim cannot be sustained as a matter of law with only two elements

is clear error.

VI.    THE DISTRICT COURT ERRONEOUSLY HELD THAT THE
       COMBINATION OF ELEMENTS WAS “COMMONPLACE,”
       DESPITE HAVING ALREADY RULED THAT IT WAS A DISPUTED
       QUESTION OF MATERIAL FACT

       The District Court then committed additional clear error by misstating the

record, in direct conflict with statements it had made previously. As discussed above,

in its September 2022 decision, the District Court observed that “[t]he parties’

experts disagree as to whether the combination of the chord progression and

harmonic rhythm present in both compositions is original and thus protectable,” and

that “[t]he experts’ disagreement on whether the backing pattern is sufficiently

uncommon to warrant copyright protection is a genuine dispute as to a material fact,

preventing summary judgment. They squarely dispute whether that combination

was commonplace before LGO:” SPA24-25 (emphasis added).

       Toward the end of its May 2023 decision, however, the District Court made

the following statements, despite the conflicting views of each sides’ experts that the

District Court had previously acknowledged:

       It is an unassailable reality that the chord progression and harmonic
       rhythm in “Let’s Get It On” are so commonplace, in isolation and in
       combination, that to protect their combination would give “Let’s Get
       It On” an impermissible monopoly over a basic musical building
       block.

       ….


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      The combination is commonplace.

      ….

      Defendants’ experts also identified, undisputed by SAS’s expert, at
      least four songs that were released prior to “Let’s Get It On” that used
      virtually the same combination.

      ….

      The selection and arrangement of these two musical elements in
      “Let’s Get It On” is now commonplace and thus their combination is
      unprotectable.

SPA49-51 (emphasis added).

      The District Court then improperly resolved in Appellees’ favor what it had

previously identified as a material factual dispute that precluded summary

judgment:

      As a matter of law, the combination of the chord progression and
      harmonic rhythm in “Let’s Get It On” is too commonplace to merit
      copyright protection.

SPA52 (emphasis added).

      Each of the foregoing statements by the District Court in May 2023 directly

contradicts the District Court’s findings from September 2022, and none are

supported by the record. The District Court’s “unassailable reality” statement is

followed by a paragraph focusing on each element in isolation, providing no support

for the purported commonality of the elements in combination. For its claim that

“[t]he combination is commonplace,” the District Court cites a single song authored

by Appellee Wadge that it recognized is materially different than the works at issue.

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SPA50. For its claim that the existence of four instances of prior art that purportedly

use the combination was “undisputed,” the District Court again acknowledges that

Appellant’s expert in fact disputed the commonality of the combination, as the

examples were obscure outliers, and the District Court also acknowledged they were

not identical. SPA50-51 & n. 4; see also A1543-47 (Appellant’s expert explaining

why the musical compositions identified by Appellee’s expert did not share the same

combination of elements as LGIO and TOL, demonstrating the core disputed issue

of material fact among the experts and the parties).

      It is a mystery how the District Court – in a matter of months with no

additional facts submitted in this case – moved from recognizing a disputed issue

of material fact among the parties’ experts that prevented summary judgment, to

finding as a matter of law that Appellant cannot make out a claim for copyright

infringement. The obvious intervening factor – indeed the District Court references

it – was the Griffin jury trial in May 2023 that ended in a defense verdict on vastly

different evidence. Any factual findings from that case are not binding on Appellant,

but even if the were, the jury in Griffin made no factual findings with respect to any

of the musical elements, whether taken in isolation or in combination.

      In summary, the District Court erred in its determination that a two-element

“selection and arrangement” claim cannot stand as a matter of law, and further erred,

by resolving disputed material factual issues in the non-movant’s favor regarding



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the commonality of the particular selection and arrangement at issue, which were

unsupported by the record and are contradicted by the District Court’s own findings

in September 2022 that these were material issues of disputed fact.

VII.   THE DISTRICT COURT’S CONCERT REVENUE DECISIONS
       WERE CORRECT, AND ARE UNDISTURBED BY THE FINAL
       SUMMARY JUDGMENT RULING

       On January 15, 2020, the District Court granted Appellant’s motion to compel

production of “documents containing information about Sheeran’s live

performances of TOL on or after June 28, 2015.” SPA1. In reaching this conclusion,

the District Court found that Appellant had met its burden of demonstrating a nexus

between concert revenues and infringement, “[b]ecause SAS plausibly alleges that

each of Sheeran’s live performances of TOL infringed SAS’s copyright in ‘Let’s Get

It On’ (‘LGO’).” SPA1. The District Court also found that the ASCAP and BMI

member agreements (A256-279) undermined Appellees’ arguments because

licenses granted by ASCAP and BMI are for the owners of the copyrighted works

performed, not infringers:

       But the defendants’ argument lacks a foundation: there is no “right” to
       infringe. BMI’s and ASCAP’s blanket and venue licenses could not
       grant a right to infringe, for there never was one.

       ….

       BMI’s and ASCAP’s blanket licenses conveyed to licensees the
       authors’ rights to perform their songs. They did not convey the
       consent of any author to play music which infringes his songs. And



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      the licenses do not transform an infringing work into one that “could
      not, as a matter of law, be infringing.”

SPA3-5 (quoting Appellees’ brief). 20 Having concluded that infringing concert

performances of TOL are acts of copyright infringements driving direct profits, the

District Court correctly held that there was no need to establish any additional “nexus”

between those performances and the revenue they generate. Indeed, there is no need

to put the defendant’s “customers on the witness stand to testify that they purchased”

a concert ticket because of TOL. Polar Bear Prods. v. Timex, 384 F.3d 700, 715 (9th

Cir. 2004); see also Semerdjian v. Littell, 641 F. Supp.2d 233, 247 (S.D.N.Y. 2009)

(“even in indirect profits cases, not all courts require proof that the infringing use

caused consumers to buy”) (citing Polar Bear Prods.).

      After the discovery ruling, Appellees nevertheless continued to press – in both

of their motions for summary judgment – for the exclusion of any evidence regarding

concert revenues at trial, arguing in both motions that Appellant had failed to




20
  Although the District Court did not specifically address the case, Appellees
relied heavily on Gray v. Perry, 2017 WL 1240740, 2:15-cv-05642 (C.D. Cal. Apr.
3, 2017), in which a California district court found that the ASCAP and BMI
blanket licenses might provide a defense to the public performance of a song that
infringed another song within the repertory, and ordered plaintiffs to find evidence
that “[s]ome portion of Tour revenues may be attributable to infringements that
allegedly preceded the performances themselves.”). In its next decision, the Gray
court observed that plaintiffs had “misunderst[ood] this order,” and had thus
missed or failed to exercise the opportunity to present such evidence. Gray v.
Perry, 2019 WL 2992007, *21, 2:15-cv-05642 (C.D. Cal. July 5, 2019).


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establish, and could not establish, a nexus between Sheeran’s allegedly-infringing

concert performances of TOL and the massive profits Appellees earned from those

performances.

      On September 22, 2022, the Court denied Appellees’ motion for summary

judgment and granted Appellant’s cross-motion on the concert revenues issue:

      Profits that arise from the performance of a song are direct whereas
      profits that may have come about because the performance acted as a
      draw for other profit centers are indirect. Accordingly, profits from
      the sale of concert tickets are direct. The profit is arising because
      the artist was paid to perform songs and there is an expectation,
      although not a guarantee, that an artist will play their most popular
      ballads.

      ….

      SAS has the burden of producing evidence that shows revenue from
      the sale of tickets to concerts where TOL was performed. SAS put
      forward such evidence in the form of an expert report, which
      calculated that the portion of concert ticket revenue attributable to the
      live performance of TOL ranged from 13.3%, based on a method of
      calculating according to the Spotify streaming statistics, to 23.97%,
      based on calculating according to the RIAA certified sales.

      ….

      SAS’s summary judgment motion for a finding that if the jury finds
      TOL infringes LGO, SAS has established a link between the
      infringing concert performances of TOL and profits arising from
      concert ticket sales is granted.

SPA31, 33-34, 36 (emphasis added).

      On October 13, 2022, Appellees moved for reconsideration of “the portion of

the Court’s Order…addressing liability and, upon granting reconsideration, grant


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summary judgment to Defendants.” A1880 (emphasis added). Appellees moved for

reconsideration of the selection and arrangement issue and concert revenue rulings

only in the alternative, “[i]n the event this case is not dismissed.” A1881. As

discussed at length above, over six months later – and two weeks after the jury

verdict in the Griffin case – the District Court granted Appellees’ motion for

reconsideration on liability (by reversing itself on the selection and arrangement

issue), and granted summary judgment to Appellees. SPA37-52. The District Court

did not make any mention of the concert revenue decision, making clear its view that

it was taking up only the liability/numerosity issue. SPA40, 43. The District Court

concluded, however, with the following:

      The Complaint is dismissed with prejudice. Plaintiff’s renewed cross-
      motion for Summary Judgment is denied.

SPA52.21 As noted above, Appellant’s cross-motion for summary judgment had

already been granted in part, and was outside the scope of the District Court’s

reconsideration, as it granted Defendants’ motion on liability and thus did not reach

the damages issue on the merits in its reconsideration decision.

      Thus, the District Court did not intend, and in fact did not, disturb its earlier

partial grant of Appellant’s cross-motion for summary judgment. The District Court


21
  Appellant only ever cross-moved for summary judgment on issues relating to
damages, and the District Court had already granted Appellant’s motion in
September 2022. SPA36.


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decided – under Rule 56 – that in the context of this case there was no question that

ticket sales constitute direct revenues, and that the nexus between those ticket sales

and the allegedly infringing musical performances has been established. See MF

Glob. Holdings Ltd. v. PricewaterhouseCoopers LLP, 232 F. Supp. 3d 558, 571

(S.D.N.Y. 2017) (finding that law-of-the-case can be established even by a denial

of a motion for summary judgement) (citing Cary Oil Co., Inc. v. MG Refining &

Marketing, Inc., 257 F.Supp.2d 751, 765 (S.D.N.Y. 2003)). Out of an abundance of

caution, however, in case Appellees or the Court are inclined to construe the situation

otherwise, Appellant includes this issue in its appeal, and seeks reversal of the denial

of Appellant’s subsequent cross-motion concerning concert revenues which only

responded to Appellee’s alternative requested relief that the District Court did not

reach.22

      The District Court reached the correct legal conclusions earlier in the case:

that “BMI’s and ASCAP’s blanket and venue licenses could not grant a right to

infringe,” (SPA3-4), that “profits from the sale of concert tickets are direct” (SPA31),

and that Appellant had met its “burden of producing evidence that shows revenue

from the sale of tickets to concerts where TOL was performed.” SPA33. The


22
  For the same reason, to the extent that the District Court’s grant of summary
judgment (SPA52) could be read to eviscerate the District Court’s allowance of
Appellant’s expert reports on damages (SPA35-36), that would be error and should
be reversed.


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District Court’s conclusion regarding the ASCAP and BMI licenses correctly cited

the ASCAP and BMI licenses placed into evidence by Appellant, as well as United

States v. BMI, 207 F. Supp.3d 374, 376 (S.D.N.Y. 2016) for the proposition that the

mere presence of a PRO license does not prevent copyright infringement, and United

States v. BMI, 720 F. App’x 14, 17 (2d Cir. 2017) for the proposition that the PRO

blanket licenses only convey the rights conveyed to the PRO by the members (i.e.,

not for infringing performances).

      The District Court’s subsequent conclusions regarding the linkage between

concert revenues and concert performances, and Appellant’s satisfaction of its

burden with respect to same, correctly relied on, inter alia, Lowry’s Reps., Inc. v.

Legg Mason, Inc., 271 F. Supp.2d 737, 751 (D. Md. 2003) (“[i]n the case of ‘direct

profits,’ such as result from the sale or performance of copyrighted material, the

nexus is obvious”) (emphasis added); Data Gen. Corp. v. Grumman Sys. Support

Corp., 36 F.3d 1147, 1173 (1st Cir. 1994) (“In the context of infringer’s profits, the

plaintiff must meet only a minimal burden of proof in order to trigger a rebuttable

presumption that the defendant’s revenues are entirely attributable to the

infringement”), abrogated on other grounds by, Reed Elsevier, Inc. v. Muchnick,

559 U.S. 154 (2010). See also Garcia v. Coleman, C-07-2279, 2009 WL 799393, at

*2 (N.D. Cal. Mar. 24, 2009) (“a causal nexus is typically more easily shown in a

direct profits case”) (citing and quoting Lowry’s); DaimlerChrysler Servs. v. Summit



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Nat., 02-cv-71871, 2006 WL 208787, at *4 (E.D. Mich. Jan. 26, 2006) (citing and

quoting Lowry’s in support of holding “the Court is persuaded by those cases placing

a heightened initial burden on the copyright holder where profits are indirect.”).

      The well-known Frank Music case illustrates this point very nicely. In that

case, defendants publicly performed five of plaintiffs’ songs, comprising a total of

six minutes, in a 100-minute live music show.          The district court found that

defendants had infringed plaintiffs’ copyrights, and awarded $22,000 in damages to

plaintiffs, representing “less than one percent of MGM Grand’s profits from the

show, or roughly $13 for each of the 1700 infringing performances,” which the Ninth

Circuit found to be “grossly inadequate,” remanding the case for a reapportionment

of damages. Frank Music Corp. v. Metro-Goldwyn-Mayer, Inc., 772 F.2d 505, 518

(9th Cir. 1985). The decision, however, turned on the fact that the district court had

failed to consider indirect profits, explaining: “we conclude indirect profits from the

hotel and gaming operations, as well as direct profits from the show itself, are

recoverable if ascertainable.” Id. at 517 (emphasis added). Direct profits arising

from the show itself were – of course – always included in the consideration and

were never in doubt.23


23
  The Ninth Circuit also found the district court to have “clearly erroneous[ly]”
reduced revenues by all of defendants’ purported overhead without requiring
defendants to show “that the categories of overhead actually contributed to sales of
the infringing work.” Id. at 516.


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                                   CONCLUSION

      The District Court’s “deposit copy” ruling (SPA13-14) should be reversed, as

should its decision not to permit the amendment to add the 2020 registration

(SPA11-12), and its decision to bar Appellant’s expert musicologists from providing

evidence as to how skilled musicians would play the sheet music at issue in this case

(SPA15-16), either of which would have at least partially corrected for the deposit

copy ruling. The District Court’s subsequent selection and arrangement decisions

(SPA37-52) regarding “numerosity” and whether the combination of elements at

issue was “commonplace,” which flowed directly from its erroneous deposit copy

decisions, and which the District Court used as the basis for its ultimate grant of

summary judgment to Appellees, should also be reversed as they have no legal

foundation or factual basis in this case’s record.

      All of these decisions should be reversed, and the case should be remanded to

the District Court with instructions to have the case proceed to trial, with Appellant’s

expert reports restored in full, and with the decisions relating to concert revenues

intact. In the alternative, the case should nevertheless be remanded to the District

Court with one or both of the following instructions: (i) to permit Appellant’s experts

to express in their opinions their interpretations as to how skilled musicians would

play the composition reflected in the “deposit copy” and (ii) to permit amendment

of the Complaint to include the 2020 copyright registration. The District Court



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evaded the province of the finder of fact, and the case should be remanded to give

Appellant his right to a trial by jury.



September 29, 2023                                 Respectfully submitted,

                                                                 /s/
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                     CERTIFICATE OF COMPLIANCE

      Pursuant to Fed. R. App. P. 32(a)(7)(C) and Circuit Rule 32(a), I hereby

certify that the foregoing brief was produced using the Times New Roman 14-

point typeface and contains 13,952 words.




                                                           /s/
                                                      Hillel I. Parness
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               SPECIAL APPENDIX
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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK
  STRUCTURED ASSET SALES , LLC,
                                                       DOC #:
                                                       DATE FlU.D:       LU:) j 2-C =-
                          Plaintiff ,

                   - against -

  EDWARD CP.RISTOPHER SHEERAN p/k/a ED
  SHEERAN , SONY/ATV MUSIC PUBLISHING,               18 Civ . 5839 (LLS)
  LLC , ATLANTIC RECORDI NG CORPORATION
  d/b/a ATLANTIC RECORDS, BDI MUSIC                    OPINION & ORDER
  LTD. , BUCKS MUSIC GROUP LTD., THE
  ROYALTY NETWORK, INC. , DAVID PLATZ
  MUSIC (USA) INC . , AMY WADGE, JAKE
  GOSLING and DOES 1 THROUGH 10 ,

                          Defendants.

        To be decided on this motion to compel document production

   is whether this Court should compel defendants to produce

  documents containing financial in:ormation about defendant

   Edward Sheeran ' s live performances of "Thinking Out Loudu

   ( " TOLu) -- including expenses and revenues related to ticket,

  merchandise sales and endors ements from such performances, and

  Sheeran's tour schedules and set lists .

        Because SAS plausibly alleges that each of Sheeran ' s live

  performances of TOL infringed SAS's copyright in "Let's Get It

  Onu ("LGOu) , SAS's motion to compel is granted as to documents

  containing information about Sheeran's live performances of TOL

  on or after June 28 , 2015.
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                               BACKGROUND

     On June 28 , 2018 , SAS b rought th i s action for copyrig h t

infringement , alleging that the musical composition TOL

i n fringe s its copyright in LGO .    SAS asserts that Sheera n has

repea tedly performed TOL live without the right to do so .           SAS

a lso asserts that defendants p r ofited from those performances in

the form of ticket sales , merchandising , and endorseme n ts .

     SAS seeks from defend ants Shee ran, Sony/ATV Music

Publishi ng, LLC , At la ntic Record ing Corpo rat ion , and The Royal t y

Network , Inc . the production of documents containing information

about Sheeran ' s live p e rformances o f TOL , includ ing expens es and

revenue s related t o ticket sa le s and me r chandise sold at such

p e rformances , as well as Sheeran ' s tour schedule s and set lists .

It also seeks documents detailing e xpenses and revenue s r elated

to endorsements and merchandi s ing more distantly re lated to TOL .

      Defendants object th at those r equests h a ve no caus a l

relat i onship to t he alleged infringement .     They also , and more

fundamentally , contend that ASCAP and BMI ' s blan ket license s

prevent Sheeran ' s live performa nces of TOL f rom infring ing the

copy ri ght in LGO .




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                                   DISCUSSION

                                Live Performances

                   Sheeran ' s Asserted Right to Perform TOL

       Defendants argue that "as a matter of law, the public

performances of either or both TOL or LGO at any or all of the

Sheeran concerts in the United States were licensed performances

and were , as a matter of law, non-infringing . "         Def.'s Mem .

Opp ' n 9.   They support this argument with declarations from the

Vice Presidents of both Performing Rights Organizations ASCAP

and BMI stating that "each of the concert venues at which

Sheeran performed TOL in the United States, or the concert

promoters, held valid blar.ket licenses from the PROs, which

authorized the public performance of any or all compositions

within the repertories of the PROs."            Id. at 8-9; Gonzalez Decl.

~~   4-7 ; Reimer Decl .   ~~   3-7 . They state that "It is undisputed

that both TOL and LGO are within the repertories of the PROs . "

Def . 's Mem . Opp'n 9 .    They also further claim that for that

reason

         . . it is indisputable that , regardless of whether
       SAS will ultimately be able to prove that TOL
       infringed LGO - and Defendants submit that they will
       not be able to do so - the public performances of TOL
       at Sheeran's concerts in the United States could not,
       as a matter of law, be infringing .
Id . at 9 n . 6.
       But the defendants' argument lacks a foundation : there is

no "right" to infringe .         BMI ' s and ASCAP's blanket and venue


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licenses could not grant a right to infringe , for there never

was one.

     Absent inapplicable exceptions,: neither the author nor any

licensee of an infringing work has the r i ght to perform it

publicly.    The author cannot assign , to BMI or ASCA P, the

ability to include such a right in their blanket licenses, for

the author has no right to infringe, and neither BMI nor ASCAP

can create one .

     Indeed BMI ' s and ASCAP ' s forms of licenses recognize that ,

for their blanket licenses stipulate that what they grant are

only rights to perform works of "which BMI [ASCAP ) sha ll have

the right to grant public performance licenses [license non-

dramatic public performances]."              Gonzalez Decl . Ex . 2 (BMI) ;

Reimer Decl . Ex. 2 (ASCAP) .

     As stated in United States v . BMI, 207 F . Supp . 374, 376

(S . D.N . Y. 2016 ) , under the goverrcing Co n sent 9ecree there i s

always the prospect that BMI "might license performances of a

composition without sufficient legal right to do so , or under a

worthless or invalid copyright                    [which] may infringe an

author's rights under copyright, contract or other law . "

     The blanket license can grant no more rights than the PRO

is assigned by the author .             As the Court of Appeals stated in


 Su ch as "fair use," f o r e xample.    They have no part i n this d iscussi on.




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                                   SPA5

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United States v. BMI, 720 F. App 'x 14, 17 (2 d Cir . 2017)

(summary order) ,

       the blanket license itself does not necessarily confer
       a righ t of immedi a te public performance : the license
       covers all the rights held by the PRO regardless of
       whether those rights are valid or invalid , exclusive
       or shared , complete o r incomplete .

Any applicant may attack "the validity of the copyright of

any of the compositions in defendant's repertory . . . . "

Id .

       BMI 's and ASCAP ' s blanket l icenses conveyed to

licensees the authors '     rights to perform their songs .      They

did not convey the consent of any author to play music

which in f ringes his songs .    And the lice ns es do not

transform an infringing work into one that "could not , as a

matter of law , be infringing . "


                           Statute o£ Limitations
       The Copyright Act states that "No civil action shall be

maintained under the provisions of this title unless it is

commenced within three years after the claim accrued . "          17

U. S . C . § 507(b) .   A copyright infringement claim accrues when

the copyright holder "discovers, or with due diligence should

have discovered , the infringement . "       Psihoyos v. John Wiley &

Sons , Inc . , 748 F . 3d 120 , 124 - 25 (2d Cir . 2014) .

       Initially , SAS contend s that its May 10, 20 1 8 motio n to

intervene in the Griffin case , Griffin v . Sheeran , 17 Civ . 5221 ,


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put each of these Defenda nts on notice of SAS's claims , and

hence should be treated as the equivalent of filing a complaint .

     But even if it were, the

         . denial of a motion to in tervene is analogous to
     dismissal of a complaint without prejudice , which does
     not toll the statutory filing period .

In re Napster ,    Inc . Copyright Litig . , 04 Civ . 3004 , 2005 WL

289977 , at *4-5 (N . D. Cal . Feb . 3 ,   2005) .   As stated in Wilson

v . Grumman Oh io Corp., 815 F . 2d 26, 27      (6th Cir . 1987),

     It is generally accepted that a dismissal without
     prejudice leaves the situation the same as if the suit
     had never been brought , and that in the absence of a
     statute to the cont rar y a party cannot deduct from the
     period of the statute of limitations the time during
     whic h the action so dismissed was pending .

      Since the denial of SAS 's motion to intervene in Griffin

left it equally free to litigate its claim (with the Court

specifica lly noting that "SAS a lso does not identify any

prejudice that it would face should the motion be denied"), the

limitation statute ran until SAS commenced this action , a nd the

only claims for which it may recover are those that accrued

within three years prior to filing its complaint on June 28 ,

2018. Thus   ~he   information to which it is entitled is that

concern ing those non-time - barred claims .


                             Proporti onality

      To the ext ent   each live performance of TOL was a separate ,

unauthorized act infringing SAS 's copyright interest in LGO , a



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schedule of such infringing acts, as well as the revenues and

expenses attributable to each, are proportional to the needs of

the case.     Defendants have unrival ed access to the requested

information , it has likely already been categorized and used for

defendants ' own business purposes , it is germane to profits (if

sufficiently causally related to an infringing performance) , and

the amount in controversy is many millions of dollars .                  Fed . R .

Civ . P . 26(b) (1) .

      To the extent that defendant s have already produced some

requested documents,2 they need not duplicate thos e efforts .


                Revenue Unrelated to Live Performances

      SAS asser ts entitlement to "the production of d ocuments

relating to Defendants' revenues and expenses associated with

merchandise revenue , touring revenue, and endorsement revenue

linked to ' Thinking Out Loud ,'" Pl . 's Mem 7 , claiming that it

has "a lleged facts sufficient to support an argument for a nexus

between Defenda nts' infringement and their indirect profits ,"

id . at 9 , and that

           The most explicit statement of SAS ' s theory comes
      in paragraphs 29 and 62 of the TAC :



2 See, e . g ., Camp Decl. Ex . 1 (Sheeran ' s U.S. concerts between 2014 and 2019) ;
Zakarin Decl. ~2 n . 3 ("Assuming that SAS could establish that TOL infringed
LGO, iL has already been provided with full disclosure from defendants as
well as ASCAP and BMI of the performance income paid with respect to a ll of
Sheeran's concercs in Lhe Unit ed States.u ) .



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                                  SPA8

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            29 . Mr . Sheeran experienced a sharp and
            sudden rise as an international music star
            in less than eighteen (18) months as a
            direct result of the commercial success of
            the release of ' Thinking Out Loud ', the lead
            single in the United St ates from Sheeran' s
            debut album , ' X' , of which ' Thinking Out
            Loud ' was the hit .

            62. In 2015, 'Thinking Out Loud' was a top-
            three song as measured by performance income
            in the world. Revenue derived and/or relaLed
            to 'Thinking Out Loud ,' including but not
            limited to record sales , performance tour
            income , merchandising , synchronization and
            licensing are in the hundreds of millions of
            dollars.

Id .

       What SAS has not done is to allege facts adequate to state

a causal relationship between the particular song TOL and those

profits .   Thus it is not entitled to documents detailing

expenses and revenues unrelated to the live performances . In

Graham vs. Prince, 265 F. Supp . 3d 366, 388 (S . D. N. Y. 2017),

Judge Stein found that the plaintiff

       adequately pled a causal nexus between t h e alleged
       infringement and indirect profits by alleging facts-
       such as the selection of Untitled [the allegedly
       infringing work] to appear in a catalog for the New
       Portraits exhibition and in a billboard displaying
       Prince[the alleged infringer] 's works-from which it
       can be reasonably inferred that the infringing
       photograph generated profits beyond those earned from
       the direct sale of Untitled .

       Here , SAS alleges no such facts .

       SAS has not identified any non-concert merchandise or any

endorsements for which profits are clearly attributable to TOL .


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Sheeran ' s manager , Stuart Camp , stated Lhat "chere is no TOL

branded merchandise .u       He also stated that Sheeran has h ad only

two endorsements in the de cade he has represented Sheeran : an

advertisemen t      for "Beats Headphonesu that was synchronized with

Sheeran ' s song "Don'tu before TOL ' s re lease , and a recent

endorsement for Heinz Ketchup that involved no Shee ran music .

Camp Decl .    ~~   39, 41 -43.   SAS has not disputed either of these

assertions .

     SAS ' s motion to compel production of documenLs unconnected

with the live performances i s denied .


                                   CONCLUSION

      Plaintiff SAS ' s motion to compel document production (Dkt .

No . 129) is granted as to Document Requests 1 5-18 insofar as

t hey request documents reflecLing revenues received or earn ed ,

and expens es incurr ed or paid ,      in connecLion with live

performances an d merchandise sold at concerLs where TOL wa s

performed on or after June 28 , 2015, including revenues received

or earned and expenses incurred or pa id in connection with

multiple musical works; and Requests 27 - 28 seeking schedules and

set lists for performa n ces on or after June 28 , 2015 .




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     The motion to compel (Dkt . No . 129) is den i ed as to

Document Requests 15 -2 0 , and 27 , 28 insofar as they request

information about performances prior to June 28, 2015 , or

merchandise sold before June 28, 2015 , or not co~~ected to live

performances of TOL on or after June 28 , 2015 .

      So ordered .

Dated :      January 15 , 2020
             New York, New York


                                             LOUIS L. STANTON
                                                 U. S.D . J .




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ORIGINAL                                                                            :i;soc sDN\'
                                                                                    DOCUME~T
 UNITED STATES DISTRICT COURT
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 SOUTHERN DISTRICT OF NEW YORK                                                      DOC H: _ _ _ __,_....,.............~
 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X                  DATt FI LED:       2/1/1., ) . I' :
 STRUCTURED ASSET SALES, LLC,

                               Plaintiff,                                 18 Civ. 5839 (LLS)

           - against -                                                   OPINION & ORDER
                                                                         ON DEFENDANTS'
 EDWARD CHRISTOPHER SHEERAN, p/k/a                                       MOTION IN LIMINE
 ED SHEERAN, SONY/ATV MUSIC
 PUBLISHING, LLC, ATLANTIC RECORDING
 CORPORATION d/b/a ATLANTIC RECORDS ,
 BDI MUSIC LTD., BUCKS MUSIC GROUP LTD. ,
 THE ROY ALTY NETWORK, INC., DAVID
 PLATZ MUSIC (USA) INC., AMY W ADGE,
 JAKE GOSLING and DOES 1 THROUGH 10,

                                Defendants.
 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X




        The issues raised by defendants ' application for in limine rulings are disposed of as
 follows.

                                                             1.
                                                      The Deposit Copy

           On July 17, 1973, in compliance with the then - applicable 1909 Copyright Act Sections 9

 and 12, 17 U.S .C. §§ S(e), 9, 10, 12 (1964), Ed Townsend filed with the Copyright Office

 (through music publishers) the application for registration of the musical composition Let's Get

 It On, and deposited two copies of the sheet music he had authored. The copyright was

 registered as No. EP 314589, and the sheet music deposited with the Copyright Office ("Deposit

 Copy") defines "precisely what was the subject of copyright." Merrell v. Tice, 104 U.S. 557,561

 (1881). " [T]he scope of the copyright is limited by the deposit copy." Skidmore v. Led


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                                             SPA14

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Zeppelin, No. 16-56057, March 9, 2020 p. 20 (9 th Cir. 2020) (en bane). The Copyright Office

instructs that "a registration for a work of authorship only covers the material that is included in

the deposit copy(ies)" and "does not cover authorship that does not appear in the deposit

copy(ies), even if the applicant expressly claims that authorship in the application." U.S.

Copyright Office, Compendium of U.S. Copyright Office Practices. §504.2 (3d ed. 2017). As

such, the Deposit Copy is the sole definition of the elements included in the protection of

copyright, which does not include other embellishments, even if they were added by Townsend

himself - because they have not undergone the copyright process.

        Nor is the field of protected elements enlarged on the theory that they are consistent, and

harmonize with the work as articulated in the Deposit Copy, and are implied by the way the

articulated elements are expressed. If what is implied is not in the Deposit Copy, it does not have

the protection of copyright.

                                                  2.
                                       The Sound Recording

        A clear understanding that only the Deposit Copy has copyright protection is important in

this case because Marvin Gaye, who co-wrote Let's Get It On ("LGO") with Townsend, recorded

the song for its first commercially released sound recording on March 22, 1973. The Gaye sound

recording contains many elements: percussion/drums, bass-guitar, guitars, Gaye's vocal

performances, horns, flutes, etc., which do not appear in the simple melody of the Deposit Copy.

These additional elements - at least some of which appear in Thinking Out Loud ("TOL") in

more or less similar form - are not protected by copyright, because they are not in the Deposit

Copy.



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       Thus the Gaye sound recording is inadmissible in any way which might confuse the jury

into thinking it represents what is protected by copyright. For example, comparisons of elements

in Thinking Out Loud which are similar to elements in the Gaye sound recording (but not the

Deposit Copy) will not be allowed.

                                                3.

       A clear example is the bass line issue. There is no genuine question that there is no

notation or specification of a bass line in the Deposit Copy. That has been accepted by both sides

and is apparent from a visual inspection, and is beyond dispute.

       Plaintiffs experts' produced opinions basing infringement on an asserted similarity

between Thinking Out Loud and a combination of three elements in LGO called the "backing

pattern." It consisted of the chord progression, the harmonic anticipation of chord changes (both

of which are commonplace and unprotectable ), and a bass line. There is no bass line in the LGO

Deposit Copy. This led to the concoction ofremedial theories - e.g. that if you string together

the lowest notes in the Deposit Copy you will "find" a bass line; that the remaining two elements

are its "functional equivalence" - which have serious analytic problems.

       The present point is that none of that could be discerned by examining the Deposit Copy.

The waste and confusion came from comparing TOL with the Gaye sound recording rather than

the Deposit Copy, and failing to take seriously the understanding that "copyright law protects

only that which is literally expressed, not that which might be inferred or possibly derived from

what is expressed." (Defis ' Reply Memo., pp. 3-4).

       To prevent the jury from any such confusion, plaintiffs expert reports must delete all

references to the Gaye sound recording, and its experts shall not mention it in their testimony


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without prior approval by the Court.

       Within the next 30 days plaintiff shall furnish defendants with final copies of its experts'

reports, as so amended.

                                                  4.

       One of plaintiffs experts having ignored the issue of prior art, and the other having only

made inquiries so superficial as to amount to no research at all, the proof as to the existence of

prior art shall be only that submitted by defendants .

                                                  5.

       Plaintiffs experts' corrected reports and testimony are to eschew opinions unsupported

by facts, or suggesting legal conclusions.

        So Ordered.

Dated: New York, New York
       September    1,
                    2021



                                                                  ·~~L-5-4~
                                                                   Louis L. Stanton
                                                                       U .S.D.J




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STRUCTURED ASSET SALES , LLC ,

                                  Pl aintiff ,                              18 Civ. 5839               (LLS )

            - against -                                                     OPIN I ON & ORDER
                                                                            ON DEFENDANTS '
EDWARD CHRISTOPHE R SHEERAN , p/k/a                                         MOTION FOR SUMMARY
ED SHEERAN , SONY /ATV MUSIC                                                JUDGMEN T
PUBLISHING , LLC , ATLANTIC RECORDING
CORPORAT I ON d / b /a ATLANTIC RECORDS ,
BD I MUSIC LTD. , BUCKS MUSIC GROUP LTD.,
THE ROYALTY NETWORK , INC . , DAVID
PLATZ MUSIC (US A) INC ., AMY WADGE ,
JAKE GOSLING a n d DOES 1 THROUGH 10 ,

                                  Defendants .
-   -   -    -    -   -   -   -    -   -   -   -   -   -   X



            In light of the r u lings i n the Se ptember 9 , 202 1 Opinion

and Order on Def endant s ' Motion i n Limi ne , the partie s' mo t ions

for summary judgment are d i smis sed witho ut prejudice to renewal

a f ter submissio n of Plaintiff ' s expert s '                         final reports ,

addressing onl y claimed infringement of the Deposi t Copy .



            So Ordered .


Dated : Ne w Yo rk , New York
        September 1 4 , 2021



                                                                       Louis L . Stanton
                                                                            U. S.D.J
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UNITED STATES DISTRICT COURT                                                              : ~ I' : \ '. l. \' FILED
SOUTHERN DISTRICT OF NEW YORK
                                                          -   X                    • 1i   .i i LED:

STRUCTURED ASSET SALES , LLC ,

                                 Plaintiff ,                                    18 Civ . 5839 (LLS)

            - against -                                                                   ORDER

EDWARD CHRISTOPHER SHEERAN , p/k/a
ED SHEERAN , SONY/ATV MUSIC
PUBLISHING , LLC , ATLANTIC RECORDING
CORPORATION d/b/a ATLANTIC RECORDS,
BDI MUSIC LTD. , BUCKS MUSIC GROUP LTD .,
THE ROYALTY NETWORK , INC ., DAVID
PLATZ MUSIC (USA) INC., AMY WADGE,
JAKE GOSLING and DOES 1 THROUGH 10,

                                 Defendants.
-   -   -    -   -   -   -   -    -   -   -   -   -   -   X
                                                          BACKGROUND

            The Court assumes the parties '                           familiarity with the facts

and prior proceedings , including Structured Asset Sales, LLC v .

Sheeran , 433 F . Supp . 3d 608 , 609                             (S . D. N.Y . 2020)     (granting in

part and denying in part plaintiff ' s motion to compel )                                         (0kt . No.

144 ) ; Structured Asset Sales , LLC v . Sheeran, 559 F . Supp . 3d

172 , 173 (S.D . N. Y. 2021)                          (Opinion & Order on defendants ' Motion

in limine)               (0kt . No . 197) ; and Griffin v . Sheeran , 351 F . Supp.

3d 492 , 494              (S . D. N. Y. 2019)              (asserting a claim that TOL

infringes the copyright in LGO) .

            In response to this Court 's September 9 , 2021 Order , SAS ' s

expert musicologists , Dr . Covach and Or . Everett, filed amended

reports :            ( 1) a Revised Cova ch Report ,                    ( 2) a Revised Co v a ch


                                                              - 1 -
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Rebuttal Report , and (3) a Revised Everett Report            (collectively ,

the "Revised Reports " ) . Dkt . No . 200 Exs . 3 ,    5,   & 7 . The

September 9 th Order held that " the Deposit Copy is the sole

definition of the elements included in the protection of

copyright " and , consequently , the LGO Sound Recording " is

inadmissible in any way which might confuse the jury into

thinking it represents what is protected by copyright . " 0kt . No.

197 at 2 - 3 . The Order directed the experts to delete " all

references to the Gaye sound recording ," all references to prior

art , as " the proof as to the existence of prior art shall be

only that submitted by defendants ," and all "opinions

unsupported by facts , or suggesting legal conclusions . " Id . at

3-4 .

                                  DISCUSSION

   A. Renewed Motion to Exclude SAS's Experts Dr. Covach and Dr .
      Everett

        Issues raised in Sheeran ' s renewed application for in

limine rulings are disposed of as follows .

1 . The Revised Reports may use the terms "common , " " uncommon , "

   " noteworthy ," and " stylistically commonplace ." These are not

   legal conclusions but epithets characterizing a work ' s place

   on a scale of originality .

2 . The term "appropriates " is stricken from Paragraph 20 of the

   Revised Covach Report because the term has a legal meaning in



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  the copyright field. An unlawful appropriation is one where

  " the second work bears ' substantial similarity '        to protected

  expression in the earlier work. " Castle Rock Ent ., Inc . v .

  Carol Pub . Grp .,   Inc ., 150 F . 3d 132 , 137   (2d Cir . 1998). An

  expert may not opine that a defendant ' s work is substantially

  similar to that of the plaintiff . That is for the jury to

  decide .

3 . All references to the Gaye sound recording are to be stricken

  because they violate the Court ' s Order that SAS "must delete

  all references to the Gaye sound recording " as " comparisons of

  elements in Thinking Out Loud which are similar to elements in

  the Gaye sound recording (but not the Deposit Copy) will not

  be allowed ." 0kt. No . 197 at 3 . There is no ambiguity in that

  direction , and it is the lawyer ' s responsibility to see that

  his client , and retained experts , comply with it . A report

  containing such references will be excluded .

4. Sheeran raises several issues alleging that SAS 's experts did

  not remove all references to prior art in compliance with the

  Court ' s Order that " [o]ne of plaintiffs experts having ignored

  the issue of prior art , and the other having only made

  inquiries so superficial as to amount to no research at all ,

  the proof as to the existence of prior art shall be only that

  submitted by defendants ." 0kt . No . 197 at 4 .



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      References to prior art will not be accepted when used to

prove that an element of LGO is unusual or similar to that of

TOL . Thus , the prior art examples listed on Pages 9- 10 , Paragraph

7 of the Revised Everett Report , are stricken , except for "Hurdy

Gurdy Man " by Donovan , which is admissible because it is offered

into evidence by Sheeran ' s expert .

      References to prior art are acceptable when they are used

to illustrate general principles of musicology. The Revised

Everett Report can mention the prior art on Pages 12 - 13 ,

Paragraph 3 because the songs are being used as examples of the

different functions a chord progression may have within the

formal structure of the song . The only song that is used to show

the similarity between LGO and TOL is the Commodores ' "Easy , "

which is introduced by Sheeran ' s expert and may thus also be

discussed in the Revised Everett Report.

      The study on Pages 3- 4 , Paragraphs 6- 7 of the Everett

Report is acceptable , for it describes chord progressions , not

prior art .

   B . Motion for Summary Judgment

      1) General Legal Standards

      Summary judgment is warranted if, based upon admissible

 evidence , "the movant shows that there is no genuine dispute as

 to any material fact and the movant is entitled to judgment as a

 matter of law ." Fed . R. Civ . P . 56(a) ; see Celotex Corp . v .

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Catrett , 477 U. S . 317 , 322   (1986). In deciding a motion for

summary judgment , a Court must "construe all evidence in the

light most favorable to the nonmoving party , drawing all

inferences and resolving all ambiguities in its favor ."

Dickerson v . Napolitano , 604 F . 3d 732 , 740    (2d Cir. 2010)

     2) Legal Standard Applied to Copyright Infringement

     To establish a claim of copyright infringement , "a

plaintiff with a valid copyright must demonstrate that :          (1) the

defendant has actually copied the plaintiff ' s work ; and (2 ) the

copying is illegal because a substantial similarity exists

between the defendant ' s work and the protectable elements of

plaintiff ' s ." Peter F . Gaito Architecture , LLC v . Simone Dev .

Corp ., 602 F . 3d 57 , 63 (2d Cir . 2010) . The issue of substantial

similarity " is frequently a fact issue for jury resolution. "

Warner Bros . Inc . v. Am . Broad . Companies , Inc ., 720 F . 2d 231 ,

239 (2d Cir . 1983) . Even so , on a motion for summary judgment , a

court may determine non - infringement as a matter of law , " either

because the similarity between two works concerns only non -

copyrightable elements of the plaintiff's work , or because no

reasonable jury , properly instructed , could find that the two

works are substantially similar ." Id . at 240       (citations

omitted) .

      3) Copyright Infringement




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      SAS ' s infringement claim is based on Sheeran ' s alleged

copying of the combination of two elements from LGO ' s Deposit

Copy into TOL :    (1) the chord progression ; and (2) the particular

way in which ant i cipation is used in connection with the chord

progression (" Harmonic Rhythm " )      (collectively the "Backing

Pat t ern " ) . The parties agree that those elements , standing

a l one , are commonplace and unprotectable . Accordingly , Sheeran

argues that summary judgment dismissing the claim is appropriate

a s a matter of law because (i) the combination of two

unprotectable elements is not sufficiently numerous or original

to constitute an original work entitled to copyright protection

under the " selection and arrangement " theory of liability ; and

(ii) LGO ' s backing pattern is not identical or nearly identical

to that in TOL .

      i)   Copyrightability of the combination of the chord
           progression and harmonic rhythm
      The law does not support Sheeran ' s contention that the

combination of LGO ' s chord progression and harmonic rhythm is

insufficiently original to warrant it copyrightable . There is no

bright - line rule that the combination of two unprotectable

e l ements is insufficiently numerous to constitute an original

work . Cf. Knitwaves , Inc . v . Lollytogs Ltd.     ( Inc . ) , 71 F . 3d 996 ,

1003 - 04   (2d Cir . 1995)   ("a work may be copyrightable even though

it is entirely a compilation of unprotectable elements . What is

protectable then is ' the author ' s original contributions '- the

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original way in which the author has ' selected , coordinated , and

arranged '    the elements of his or her work ."      (citations

omitted)) ; Rose v . Hewson , No . 17 CV 1471 , 2018 WL 626350 , at *3

(S . D. N. Y. Jan . 30 , 2018)   ("compilations of generally

unprotectable elements can be afforded copyright protection ." )

Moreover , Courts " treat the question whether particular elements

of a work demonstrate sufficient originality and creativity to

warrant copyright protection as a question for the factfinder ."

Matthew Bender & Co. v . W. Pub. Co ., 158 F . 3d 674 , 681         (2d Cir .

1998) . Therefore , " the question whether those elements in LGO

demonstrate ' sufficient originality and creativity to warrant

copyright protection '      is a factual question to be determined at

trial ." Griffin v . Sheeran , 351 F. Supp . 3d 492 , 497        (S . D. N. Y.

2019) .

      Moreover , where , as here , the parties '      experts disagree as

to whether a particular musical element is original , summary

judgment is inappropriate . See Ulloa v . Universal Music & Video

Distribution Corp ., 303 F. Supp . 2d 409 , 413 - 14       (S . D.N . Y. 2004)

( " It wou l d be improper for this Court , on a motion for summary

judgment , to draw its own conclusions from this competing

evidence regarding the originality of the Vocal Phrase. " ) . The

parties ' experts disagree as to whether the combination of the

chord progression and harmonic rhythm present in both

compositions is original and thus protectable . They squarely

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dispute whether that combination was commonplace before LGO :

SAS ' s experts opined that "the progression class shared between

[ the songs] is uncommon ," 0kt. No . 2 00 Ex. 7              <JI<_![   A . 6- 7 , whereas

Sheeran's expert opined " that the combination of commonplace

elements in LGO .                  . is found in prior art ," 0kt. No . 179 Ex .

10   <JI   26.

           Sheeran ' s expert alleges the existence of three prior

works-" Downtown ," "Since I Lost My Baby ," and "Georgy Girl "-that

use the chord progression in LGO , a I - iii - IV - V chord

progression , together with the same anticipation of chord

changes on the second and fourth chords as used in LGO .                            0kt.

No. 179 Ex. 10        <JI<_![   26 - 38 . SAS 's expert opposes the

characterization of those songs as prior art of LGO . He argues

that LGO ' s backing pattern is not present in "Downtown," its

chord progression is different from that in "Since I Lost My

Baby ," and its harmonic rhythm is on an alternative beat

compared to the one in "Georgy Girl ." Dkt . No. 200 Ex . 5                         <JI<_![   10 -

12 . The experts '              disagreement on whether the backing pattern is

sufficiently uncommon to warrant copyright protection is a

genuine dispute as to a material fact , preventing summary

judgment. Fed . R . Civ . P . 56(a)

           ii)   Substantial Similarity between LGO and TOL

           When a copyright claim is " limited to the particular

selection or arrangement" of elements , the "protection given is

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' thin ,'" becuase a "' subsequent [author] remains free to use

[ t he pub li c doma i n elements] to aid in preparing a competing

work , so long as the competing work does not feature the same

selection and arrangement. " Tu f enkian Imp . / Exp . Ventures , Inc .

v . Einstein Moomjy , Inc ., 338 F.3d 127 , 136 (2d Cir . 2003)

(quoting Feist Pub l ications , Inc . v . Rural Tel . Serv . Co ., 499

U. S . 340 , 349 (1991))   (alteration in original) . Thus ,

substantial similarity in selection and arrangement cases "will

be established only by very close copying " of the plaintiff ' s

work . Beaudin v . Ben & Jerry ' s Homemade , Inc .,    95 F . 3d 1 , 2 (2d

Ci r . 1996) ; Zalewski v . Cicero Builder Dev ., Inc ., 754 F . 3d 95 ,

1 07   (2d Cir. 2014 ) . In determining the substantial similarity of

works that have both protectable and unprotectable element s, the

Court 's a nalysi s mu st be " discerning " and we "must attempt to

extract the unprotectable elements from our consideration and

a sk whether the protectable elements , standing alone , ar e

substan t ially similar ." Knitwaves , Inc ., 71 F . 3d at 1002 . Even

so , t he Court i s p rin cipally guided " by comparing the contested

design ' s   ' total concept and overall feel ' with that of the

a l legedly infringed work ," Tufenkian Import/Export Ventures ,

Inc ., 338 F . 3d at 133 ; Knitwaves , Inc ., 71 F . 3d at 1003 .

       The parties ' expert mus i cologist s have opined on the

s i mi lar i ty between the musical elements in LGO ' s and TOL ' s

backing patterns and have come to competing conclusions . SAS ' s

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experts opine that the backing patterns are " harmonically

equivalent ," Dkt . No . 200 Ex . 3        ~   6 , whereas Sheeran ' s expert

maintains that they are objectively different , Dkt . No . 179 Ex .

8   ~   14. Although the two musical compositions are not identical ,

a jury could find that the overlap between the songs '

combination of chord progression and harmonic rhythm is very

close . Accordingly , questions remain that are not resolvable by

summary judgment , but require trial .

         Chord Progression

         The LGO Deposit Copy features a I - iii - IV - V7          (or a 1 - 3 - 4 - 5)

chord progression . Dkt . No . 208         (Defendants '      Rule 56 . 1 Reply to

Pl aintiff ' s Rule 56 . 1 Response)       ~   32 . TOL features a I - I6 - IV - V7

chord progression . Id .     ~    33 . The "I6 " chord is a major chord and

the " iii " chord is a minor chord . Id .          ~   35 .

         The parties dispute the effect of that slight adjustment

between the chord patterns . SAS alleges that these chord

progressions are harmonically equivalent because , as illustrated

by music textbooks , the "16 " chord may substitute for the " iii"

chord "without affecting the function of the progression . " Id .                          ~


33 ; Dkt . No . 200 Ex . 5    ~   6 ; Dkt . No . 200 Ex. 7      ~   4.   Sheeran

maintains that the chord progressions are different and none of

the chord progressions in TOL are I - iii - IV - V7 . Dkt . No . 208                ~


33 ; Dkt . No . 179 Ex . 2    ~   39 .



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          Sheeran also argues that there is a significant harmonic

difference between the chord progressions because the "I6" chord

is a major chord , and the "iii" chord is a minor chord . Dkt . No .

208   ~    35 ; Dkt . No . 179 Ex. 8    ~       14 . But SAS ' s expert Dr. Everett

contends that the minor "iii" chord could be equivalent to the

major " I6" because of the "interchangeability of the two

triads ." Dkt . No . 200 Ex. 7         ~~       A. 4-5 .

          Harmonic Anticipation of Chord Changes

          The LGO Deposit Copy sets the I-iii-IV-V7 chord progression

to extend over two measures            (or bars) according to a "slow " 4/4

time signature . Dkt. No . 208          ~       41. TOL sets the I-I6 - IV-V7 chord

progression to a " fast " 4/4 time signature . Id .

          The parties dispute whether the songs' harmonic rhythms,

the timing of the chord changes in the songs, are substantially

similar. SAS claims that the harmonic rhythms are the same but

are notated using two different time signatures . Id .; 0kt . No. 3

~~    10-11.       In Sheeran ' s view , the harmonic rhythms are different

because the chord progression in LGO is played over four bars as

compared to two bars in TOL and LGO ' s Deposit Copy does not

notate a fast or slow 4/4 time , which refers to the tempo of the

song . Dkt . No . 179 Ex . 2     ~   49 .        SAS dismisses any arguments that

the difference in notation makes the rhythmic pattern dissimilar

because , it claims , the rhythms are identical in sound . 0kt . No .

200 Ex. 5      ~    5 . It also argues that syncopated chord changes ,

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occurring on a weak beat , are in both songs . 0kt . No. 200 Ex . 7

~   D. 1 .

        As evidenced by the differences in opinions of the parties '

experts , the question of whether TOL is substantially similar to

LGO cannot be resolved summarily and is left for trial.

         4) Touring Profits Damages

        As a remedy for infringement , a copyright owner is entitled

to recover statutory damages or " actual damages and any

additional profits of the infringer ." 17 U. S . C . A . § 504(a)

(2018). SAS seeks a damages award in the amount of actual

damages plus profits , including all profits relating to touring

revenue , such as concert ticket and concert merchandise sales .

0kt . No . 102    (Third Amended Complaint) .

         In the event that the complaint is not dismissed , both

parties seek partial summary judgment on various issues related

to profits . Sheeran moves for summary judgment to dismiss SAS ' s

claim that the damages award can include touring profits . SAS

opposes the motion and cross moves for summary judgment that

         (i) to the extent there is any burden on Plaintiff to
         establish a link between the separate acts of
         infringement that arose when Sheeran performed TOL at
         concerts and the direct profits from the concerts ,
         that burden has been satisfied ;
         (ii) the numerous references throughout Mr .
         Massarsky ' s report to Plaintiff ' s purported failure to
         meet its causal burden should be struck as




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     inappropriate (as Mr . Massarsky is not a legal expert)
     and wrong ; 1 and
      (iii) if Plaintiff prevails on its copyright
     infringement claim , it will be entitled - at a minimum
     - to the "straight - line " apportionment of direct
     profits arising from the direct infringements advanced
     by Mr . Massarsky , based on the number of songs Mr .
     Sheeran performed at each Ed Sheeran concert .

     In other words , if TOL is found to infringe LGO , the

parties disagree over whether touring profits- the sale of

concert tickets and concert merchandise-can be recovered and in

what amount . SAS alleges that it can recover revenue generated

from concert tickets and merchandise because they are direct

profits . SAS argues it does not need to prove a causal nexus

between the separate acts of infringing public performances and

the direct revenues collected from them . Rather , the burden is

on Sheeran to prove the proper apportionment of those direct

profits to the TOL infringements .

     Sheeran contends that all the touring profits are indirect

profits. Nonetheless , regardless of how the profits are

classified , Sheeran argues SAS must prove a causal nexus between

the infringement and the profits and SAS has not adduced any

evidence that shows TOL specifically caused concertgoers to

purchase Sheeran concert tickets and merchandise sold at his

concerts .



1 SAS ' s motion to strike is denied . There is nothing improper about

Massarsky opining that there is no evidence of a causal link between
tour profits and the alleged infringement .
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      1) Classification of Profits

      Depending on how attenuated profits are from the infringing

act , an infringer ' s profits may be direct or indirect. Complex

Sys ., Inc . v. ABN Ambro Bank N. V., No . 08 CIV . 7497 KBF , 2013 WL

5970065 , at *2   (S.D . N. Y. Nov . 8 , 2013) . Direct profits arise

from the sale of the infringing good . Cohen v . G & M Realty

L . P. , 320 F . Supp . 3d 421 , 446 (E . D. N.Y . 2018) , aff'd sub nom .

Castillo v . G&M Realty L.P ., 950 F . 3d 155 (2d Cir . 2020) ;

Garcia v . Coleman , No . C- 07 - 2279 EMC , 2009 WL 799393 , at *2

(N . D. Cal . Mar. 24 , 2009)   (quoting Mackie v . Rieser , 296 F . 3d

909 , 914   (9th Cir . 2002) . Indirect profits are " derived from the

use of the copyrighted work to promote sales of other products ."

Graham v . Prince , 265 F . Supp . 3d 366 , 388     (S . D.N . Y. 2017) .

      Profits that arise from the performance of a song are

direct whereas profits that may have come about because the

performance acted as a draw for other profit centers are

indirect . Accordingly , profits from the sale of concert tickets

are direct . The profit is arising because the artist was paid to

perform songs and there is an expectation , although not a

guarantee , that an artist will play their most popular ballads .

In comparison , profits from the sale of concert merchandise are

indirect because the source of profits is from the sale of

another good separate from the infringing performance .

      2) Causal Nexus


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        A copyright owner is entitled to recover "any profits of

the infringer that are attributable to the infringement and are

not taken into account in computing the actual damages ." 17

U.S . C . § 504   (2018) . The Copyright Act goes on to describe a

burden - shifting analysis : " In establishing the infringer ' s

profits , the copyright owner is required to present proof only

of the infringer ' s gross revenue , and the infringer is required

to prove his or her deductible expenses and the elements of

profit attributable to factors other than the copyrighted work . "

Id.

        A plaintiff thus has the burden of showing a causal nexus

between the infringement and the gross revenue . Lawton v .

Melville Corp. , 116 F . 3d 1472 (2d Cir . 1997)      (Because "only

those profits attributable to the use of the infringed work " can

be awarded , a copyright owner "must show some nexus between the

gross revenues and the infringement ." ) ; Viktor v . Top Dawg Ent .

LLC , No . 1 8 CIV . 1554 , 2018 WL 5282886 , at *1 (S . D.N . Y. Oct. 24 ,

2018)    ("Significant here , before the burden shifts to the

infringer , a plaintiff must first demonstrate a causal

relationship between the infringement and the defendants '

revenues ." ) . It is insufficient for a copyright owner to "simply

show gross revenues from the sale of everything the defendant

sells ." Id . "[T]he term ' gross revenue ' under the statute means

gross revenue reasonably related to the infringement , not

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unrelated revenues ." On Davis v . The Gap , Inc ., 246 F . 3d 152 ,

160 (2d Cir . 2001)   (holding plaintiff failed to discharge its

burden by submitting evidence of the defendant ' s gross revenues

when the revenue included sales that were in no way promoted by

the infringing advertisement) . In cases of direct profits , the

burden to satisfy the nexus requirement is minimal and may be

obvious . See Lowry ' s Reps ., Inc . v . Legg Mason , Inc. , 271 F.

Supp . 2d 737 , 751 (D . Md . 2003 )    ("In the case of ' direct

profits ,' such as result from the sale or performance of

copyrighted material , the nexus is obvious ." ) ; Data Gen. Corp .

v . Grumman Sys. Support Corp. , 36 F . 3d 1147 , 1173 (1st Cir .

1994) , abrogated on other grounds by Reed Elsevier , Inc . v .

Muchnick , 559 U. S . 154   (2010 )   (" In the context of infringer ' s

profits , the plaintiff must meet only a minimal burden of proof

in order to trigger a rebuttable presumption that the

defendant ' s revenues are entirely attributable to the

infringement ." ).

     Concert Tickets

      SAS has the burden of producing evidence that shows revenue

from the sale of tickets to concerts where TOL was performed .

SAS put forward such evidence in the form of an expert report ,

which calculated that the portion of concert ticket revenue

attributable to the live performance of TOL ranged from 13 . 3 %,

based on a method of calculating according to the Spotify

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streaming statistics , to 23 . 97% , based on calculating according

to the RIAA certified sales. 0kt . No . 205 Ex . 1 at 9- 10 .

     Sheeran disputes this method of calculation. They put

forward a competing expert report that calculates TOL ' s share of

the profits by dividing the Adjusted Show Profits         (a figure

provided by them that subtracts expenses from the total live

income) by the number of songs performed by Ed Sheeran , or , in

the alternative , by the number of songs performed by Mr . Sheeran

and by the opening act(s). 0kt . No . 205 Ex . 2 at 6 , 15 - 20 .

     SAS disputes Sheeran ' s method of calculation and Sheeran ' s

deduction of business management fees , management commissions ,

and UK taxes from the Adjusted Gross Profits figure on the

grounds that those items are not directly attributable to TOL .

0kt . No . 205 Ex . 1 at 8 .

       In light of the dispute between the parties , the proper

calculation of damages should be determined by trial rather than

on summary judgment .

     Concert Merchandise

      SAS has not identified any admissible evidence that ties

the alleged infringement , the live performance of TOL , to the

revenues generated by the sale of concert merchandise .

      Without a showing of " any causal connection between the

infringement and the defendant ' s profits ," it is only

speculative whether the revenue is reasonably related to the

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infringement . On Davis v . The Gap , Inc ., 246 F . 3d 152, 159 (2d

Cir . 2001) . Copyright law does not allow for speculative

recovery, and we can surmise a myriad of reasons why a

concertgoer would purchase concert merchandise , reasons that

have nothing to do with the live performance of TOL.

     Accordingly , if TOL is found to be an infringement of LGO ,

the jury cannot take into account the revenue from concert

merchandise sales when making the damages calculation. See Bayoh

v . Afropunk LLC, No . 18 CV 5820 , 2020 WL 6269300 , at *7

(S . D.N . Y. Oct . 26 , 2020)   ("In cases that involve indirect profit

claims , the district court opinions have underscored that "the

decision to ' send[ ] such claims to a jury should be extremely

rare .'" (alteration in original)) .

                                   CONCLUSION

      Sheeran ' s motion for summary judgment dismissing SAS ' s

claim for infringement is denied. Sheeran ' s motion in the

alternative to dismiss SAS ' s claim to include concert

merchandise revenue in a calculation of damages is granted, but

its motion to dismiss the inclusion of concert ticket sales is

denied.

       Sheeran ' s motion to exclude Dr . Covach ' s and Dr . Everett's

Revised Reports and testimony is granted conditionally on their

present submissions . If , within thirty days from the date of

entry of this Order, they submit reports which comply strictly

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with this Order and the September 9 , 2021 Order , their reports

will be received in evidence and they may testify . Those of

Sheeran ' s objections and disputes with their reports which have

not been specifically addressed by the Court are left to be

dealt with on cross - examination .

      SAS ' s summary judgment motion for a finding that if the

jury finds TOL infringes LGO , SAS has established a link between

the infringing concert performances of TOL and profits arising

from concert ticket sales is granted . It is denied in all other

respects .

      So Ordered .

Dated :    New York , New York
          September  Zf--'2022


                                                  L~ L. st-4#~
                                              LOUIS L . STANTON
                                                  U.S . D. J .




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 UNITED STATES DISTRICT COURT                                              :I ~~;c:~ RO ~ ICA LLY FIL ED
 SOUTHERN DISTRICT OF NEW YORK
 -   -   -    -   -   -   -   -    -   -   -   -   -   -   -   X           ii D'\T 111.ED:_ 5//6}1----3
 STRUCTURED ASSET SALES , LLC ,

                                  Plaintiff ,                           18 Civ . 5839 (LLS )

             - against -                                                 OPINION & ORDER

 EDWARD CHRISTOPHER SHEERAN , p/k/a
 ED SHEERAN , SONY/ATV MUSIC
 PUBLISHING , LLC , ATLANTIC RECORDING
 CORPORATION d/b/a ATLANTIC RECORDS ,
 BDI MUSIC LTD. , BUCKS MUSIC GROUP LTD .,
 THE ROYALTY NETWORK , INC ., DAVID
 PLATZ MUSIC (USA) INC. , AMY WADGE ,
 JAKE GOSLING and DOES 1 THROUGH 10 ,

                                  Defendants.
                                                           X
             This case presents the question of whether the song

 " Thinking Out Loud " infringes the copyright of "Let's Get It

 On ." On September 29 , 2022 , the Court denied defendants' Renewed

 Motion for Summary Judgment dismissing the case. Defendants now

 move for reconsideration of that Order .

             For the following reasons , defendants ' Motion for

 Reconsideration is granted and the complaint is dismissed .

                                                           Background

             The Court assumes the parties' familiarity with this case

 and recounts only what is necessary to decide defendants ' Motion

 for Reconsideration .

             Ed Townsend and Marvin Gaye Jr . wrote and internationally

 released the song "Let's Get It On" in 1973 . 0kt . No . 102


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 (" Third Amended Complaint " )                       ':II   1; Dkt . No . 201 (" Defendants ' Rule

56 . 1 Statement " )            ':I[   17 .   On July 17 , 1973 , Townsend applied to

copyright the song with the U. S . Copyright Office . Dkt . No . 201

':II   19 . In support of that application , he deposited with the

Copyright Office a copy of the sheet music . Id .                                            ':I[     20 . The sheet

mus i c , which is known as the " Deposit Copy ," was subsequently

registered under Registration No . EP 314589 . 1 Id .                                               ':I[   21 .

Plaintiff , Structured Assets Sales , LLC ("SAS " ) has an 11 . 11 %

beneficial interest in the right to receive royalties from the

copyright of " Let ' s Get It On ."                                Dkt . No . 102     ':II   18 ; Dkt . No . 201

':II   18 .

              In February 2014 , defendants Ed Sheeran and Arny Wadge c o -

authored the song "Thinking Out Loud ." Dkt . No . 201                                                     ':II   24. Days

later , Sheeran recorded , and co - defendant Jack Gosling produced ,

wha t wou l d become the commercially released version of the song .

 Id .         ':I[   26 ; Dkt . No . 102      ':I[   25 . " Thinking Out Loud " was released

 to great commercial and critical success , includ i ng a Grammy

Award for Song of the Year . Dkt . No . 102                                 ':II   17 . Co - defendants

 SONY/ATV Music Publishing , Atlantic Recording Company d / b/a

Atlantic Records , BDi Music Ltd. , Bucks Music Group Ltd ., The

 Royalty Network , Inc . , and David Platz Music (USA ) Inc. , as




 1Marvin Gaye Jr . created a Sound Recording of "Let ' s Get It On , "
 which was commercially released . The Sound Recording was never
 copyrighted and is not at issue in this dispute .
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publishers and distributors of "Thinking Out Loud, " facilitated

and assisted with its distribution , promotion , and sales .

       SAS alleges that "Thinking Out Loud" infringes on the

copyright of the sheet music of "Let's Get It On ." Defendants

moved for Summary Judgment dismissing the case and SAS cross-

moved for Summary Judgment granting it profits from Sheeran's

live performance of "Thinking Out Loud." 2 0kt . No. 202; 0kt. No .

205.

       In its Order denying defendant 's Motion for Summary

Judgment , the Court recognized that this Circuit treats the

question of whether "particular elements of a work demonstrate

sufficient originality and creativity to warrant copyright

protection as a question for the factfinder." Matthew Bender &

Co . v . W. Pub . Co., 158 F . 3d 67 , 681   (2d Cir . 1998) . With this

in mind, the Court held that the parties ' dispute over the

originality of the selection and arrangement of the combination

of two commonplace musical building blocks-the chord progression

and harmonic rhythm- in "Let's Get It On" was a genuine dispute

necessitating denial of defendants ' motion.




2 The parties' initial motions for summary judgment were denied
with leave to renew after SAS amended its Experts' Reports. Dkt.
No . 198. The parties thereafter filed Renewed Motions for
Summary Judgment, which the Court denied in part and granted in
part. 0kt. No. 211. It is that denial which defendants urge the
Court to reconsider .
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      Defendants filed a motion for recon s ideration urging the

Court to recons i der its findings on l iability and grant Summary

Judgment dismissing the case , or in the alternative to certify

the question of how to satisfy the numero s ity requirement under

t he selection and arrangement test for infringement . Dkt . No .

212 . SAS promptly opposed the Motion for Reconsideration.                  Dkt .

No . 214 .

                                Legal Standards

      1. Motion for Reconsideration

      Under Rule 54 of the Federal Rules of Civil Procedure , the

Court has the inherent power to reconsider any of its decisions

prior to the entry of a final judgment adjudicating all claims

at i s sue . Fed . R. Civ . P . 54(b) . A motion for reconsideration is

" an extraordinary remedy to be employed sparingly in the

i nterests of f i nality ." Drapkin v . Mafco Consol . Grp .,           Inc ., 818

F . Supp . 2d 678,   695   (S.D . N . Y.   2011) . Reconsideration is

warranted where there is an "intervening change of controlling

law , the availability of new evidence , or the need to correct a

clear error or prevent manifest injustice ." DiLaura v . Power

Auth . of New York ,   982 F . 2d 73 , 76 (2d Cir . 1992) .         The decision

as to whether to grant a motion for reconsideration lies

squarely within the court ' s discretion . Analytical Survs. ,               Inc .

v . Tonga Partners , L . P. ,    684 F . 3d 36 ,   52   (2d Cir . 2012) .

      2. Copyright Infringement

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     To establish a claim of copyright infringement , "a

plaintiff with a valid copyright must demonstrate that :          (1) the

defendant has actually copied the plaintiff ' s work ; and (2) the

copying is illegal because a substantial similarity exists

between the defendant ' s work and the protectable elements of

plaintiff ' s. " Peter F . Gaito Architecture , LLC v . Simone Dev .

Corp ., 602 F.3d 57 , 63   (2d Cir . 2010).   The Court can decide as

a matter of law that there is no substantial similarity between

the works because "the similarity between two works concerns

only non-copyrightable elements of the plaintiff ' s work." Warner

Bros . Inc . v . Am. Broad . Cos. , 720 F . 2d 231 , 240   (2d Cir . 1983)

     The test for substantial similarity in music infringement

cases is whether a plaintiff can prove that "defendant took from

plaintiff 's works so much of what is pleasing to the ears of lay

l isteners , who comprise the audience for whom such .           . music

is composed , that defendant wrongfully appropriated something

which belongs to the plaintiff ." Repp v. Webber , 132 F . 3d 882 ,

889 (2d Cir . 1997)   (alteration in original) . When , as here, the

song 's aesthetic appeal is due largely to unprotectable

elements , the Court ' s analysis of substantial similarity "must

be more discerning , and ignore those aspects of a work that are

unprotectable ... lest [courts] conflate mere copying with

wrongful copying. " Zalewski v . Cicero Builder Dev ., Inc ., 754

F . 3d 95 , 102 (2d Cir . 2014) .

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        In doing so , the Court is not required to "compare only

those elements which are themselves copyrightable." Peter F.

Gaito Architecture , LLC , 602 F.3d at 66 . Instead, the court is

"' principally guided by comparing the contested work ' s total

concept and overall feel with that of the allegedly infringed

work .'" Nwosuocha v. Glover , No . 21 CIV. 04047 , 2023 WL 2632158,

at *4    (S . D. N. Y. Mar . 24 , 2023)   (quoting Peter F . Gaito

Architecture, LLC , 602 F.3d at 66) . "This is so because 'the

defendant may infringe on the plaintiff's work not only through

literal copying of a portion of it , but also by parroting

properties that are apparent only when numerous aesthetic

decisions embodied in the plaintiff ' s work of art-the

excerpting , modifying , and arranging of unprotectible

components- are considered in relation to one another .'" Peter F .

Gaito Architecture , LLC, 602 F . 3d at 66 (quoting Tufenkian

Imp./Exp. Ventures , Inc. v . Einstein Moomjy , Inc ., 338 F . 3d 127,

134   (2d Cir . 2003)) ; see also McDonald v. West , 138 F. Supp. 3d

448 , 456 (S . D. N. Y. 2015) , aff ' d , 669 F . App'x 59 (2d Cir. 2016)

(same) . "[ W]here a work relies on the compilation or arrangement

of unprotectible elements , it is only eligible for copyright

protection ' if those elements are numerous enough and their

selection and arrangement original enough that their combination

constitutes an original work of authorship. '" Threeline Imports ,

Inc. v . Vernikov , No . 15 Civ. 02333 , 2016 WL 11472749, at *13

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(E.D.N.Y . Oct . 28, 2016)   (quoting Satava v . Lowry , 323 F.3d 805,

811 (9th Cir. 2003)).

                                Analysis

  1. Reconsideration is Warranted

     Defendants argue that reconsideration is proper to avoid

clear error because the Court overlooked the numerosity

requirement for selection and arrangement claims of

infringement . Dkt. No. 213 at 5 . SAS responds that defendants

have not identified any controlling decisions that the Court has

overlooked or any intervening change of controlling law. Dkt .

No . 214 at 1.

     The Court denied Defendant ' s Renewed Motion for Summary

Judgment , in part , because its sister action Griffin v . Sheeran ,

which arose from the same nucleus of facts and asserted the same

claim of infringement , was proceeding to trial. Summary Judgment

dismissing the claim was denied in Griffin in January 2019 .

Griffin v . Sheeran , 351 F. Supp. 3d 492 , 494     (S . D. N. Y. 2019)

Afterward , the Ninth Circuit decided Skidmore as Tr . for Randy

Craig Wolfe Tr . v. Led Zeppelin , 952 F . 3d 1051 , 1064     (9th Cir .

2020) , which is one of the clearest articulations of how

copyright law applies to musical compositions . This Court has

already adopted and applied to this case one holding of

Skidmore : that the scope of copyright protection only extends to

the Deposit Copy , here the sheet music of "Let ' s Get It On ."

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Skidmore also expressly laid out a numerosity requirement for

selection and arrangement copyright claims holding that

protection applies to "a combination of unprotectable elements

... only if those elements are numerous enough and their

selection and arrangement original enough that their combination

constitutes an original work of authorship ." Id. at 1074.

     The numerosity requirement has been alluded to , but not

strictly followed , in the Second Circuit . Compare Peter F . Gaito

Architecture , LLC , 602 F . 3d at 66 (finding infringement when

" numerous aesthetic decisions embodied in the plaintiff ' s work

of art-the excerpting , modifying , and arranging of

[unprotectible components]      . .. -are considered in relation to one

another " ) with Knitwaves , Inc . v . Lollytogs Ltd .   (Inc . ) , 71 F . 3d

996 , 1004   (2d Cir . 1995)   ("What is protectible then is the

author ' s original contributions , the original way in which the

author has ' selected, coordinated , and arranged ' the elements of

his or her work ." ) . There have been few opportunities to apply

the principle of numerosity to musical compositions. In its

Order denying Summary Judgment dismissing the claim , this Court

declined to grapple with whether a numerosity requirement should

be imposed and instead found that there is no bright - line rule

requiring it . 0kt. No. 211.

     Since then , courts in this Circuit have started to weigh

the numerosity of the elements when deciding whether their

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combination should be protected. In Nwosuocha v . Glover, 21 Civ.

04047 , 2023 WL 2632158   (S . D.N.Y. Mar. 24, 2023), the Court

implied a high threshold for numerosity when it found that a

combination of eight unprotected musical elements was

"categorically ineligible for copyright protection." Id . at *7 .

Having previously disdained the issue of numerosity, the Court

finds that it improperly disregarded it in denying defendants '

motion to dismiss without weighing whether and how to apply the

requirement .

  2. Defendants' Renewed Motion for Summary Judgment is Granted

     SAS alleges that the combination of the chord progression

and the harmonic rhythm used in "Thinking Out Loud" is

substantially similar to that in "Let's Get It On," and thus

infringes the work. SAS acknowledges, and the Court concurs,

that the chord progression and harmonic rhythm , in isolation,

are not individually protected . The question then is whether two

common elements are numerous enough to make their combination

eligible for copyright protection .

     Unprotected musical elements might be so selected and

arranged that they form a whole whose patterns and effects are

protectable . See Tufenkian Imp . /Exp. Ventures , Inc. v . Einstein

Moomjy , Inc ., 338 F . 3d 127, 134   (2d Cir . 2003) . The scope of

that protection is limited to the particular way in which the

unprotected elements form the coherent pattern or design and

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does not extend to the underlying elements themselves . See id .

at 136 . Thus , a protectable mosaic may be formed from

unprotected chips , but it needs a number of them : not one or

two . Otherwise , the arrangement is devoid of any contribution

from the author . It is nothing more than an impermissible

attempt to copyright what is already in the public domain and

capture what is freely available to all to use . Deciphering what

constitutes a protectable , original selection and arrangement

from a combination of unprotected properties has long vexed the

courts .

      The numerosity requirement springs from the nature of that

postulate. Requiring numerous unprotected elements to be present

before determining whether their selection and arrangement is

protectable reinforces the constitutional requisite that a

copyrighted work , or piece of a work , be original enough to

warrant protection . See Peter F . Gaito Architecture , LLC , 602

F . 3d at 66 .   That is " the sine qua non of copyright . " Feist

Publications , Inc . v . Rural Tel . Serv . Co ., 499 U.S . 340 , 346

( 1 99 1 ) . The selection and arrangement of unprotected musical

elements " cannot be so mechanical or routine as to require no

creativity whatsoever ." Id . at 358 . Requiring numerous elements

prevents the misapplication of copyright law and ensures it is

not being used to protect combinations that occur routinely



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without any minimal creative contribution attributable to the

author .

      Numerous means " many ; great in number." Numerous , Oxford

English Dictionary (3d . ed . 2003) . There is no bright - line rule

dictating the threshold over which a specific number of

unprotectable elements in a work must pass to become

sufficiently numerous to protect the aesthetic decision to

select and arrange them in an original way . Nonetheless , common

sense dictates that in the context of a musical composition ,

" numerous " requires more than just a commonplace chord

progression and harmonic rhythm to warrant protecting their

combination . 3 See Nwosuocha v. Glover , 21 Civ . 04047 , 2023 WL

2632158 , at *7   (S . D. N.Y . Mar . 24 , 2023)   (holding that the eight

musical elements in plaintiff ' s song "lack sufficient

originality alone , or as combined , to merit compositional

copyright protection or are categorically ineligible for

copyright protection " ) . To protect an arrangement with few parts

may be to read the numerosity requirement out of the law . That

is especially true here where the chord progression and the




3
 Outside of the musical context , the "combination of two
unprotectable elements " has been found to be "not sufficiently
numerous or original to constitute original work entitled to
copyright protection ." Beyond Blond Prods ., LLC v . Heldman , 479
F. Supp . 3d 874 , 883 (C . D. Cal . 2020) , aff ' d sub nom . Beyond
Blond Prods ., LLC v . ComedyMX , LLC , No . 21 - 55990 , 2022 WL
1101756 (9th Cir . Apr . 13 , 2022) .
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harmonic rhythm (how the chord progression is played) in " Let ' s

Get It On " do not form a pattern , but instead essentially merge

into one element .

     This Court is not aware of any case upholding a selection

and arrangement claim based on the combination of two

commonplace , unprotectable musical elements . Courts often

evaluate combinations of at least three common musical elements

and still find their selection and arrangement to be unoriginal .

See Gray v. Hudson , 28 F . 4th 87 , 102 (9th Cir . 2022)     ("This

combination is unoriginal because it is really nothing more than

a two - note snippet of a descending minor scale , with some notes

repeated. " ) ; Peters v . West , 776 F . Supp. 2d 742 , 751 (N . D. Ill .

2011) , aff ' d , 692 F . 3d 629 (7th Cir . 2012)   (holding the

combination of three unprotected elements is not protectable);

Cottrill v . Spears , No . 02-3646 , 2003 WL 21223846 , at *9 (E . D.

Pa . May 22 , 2003) , aff'd , 87 F . App ' x 803 (3d Cir . 2004) , as

amended on reh ' g (June 2 , 2004)    (holding four commonplace

musical elements are not numerous enough to warrant protection)

In Satava , a case not about music but about glass jellyfish

sculptures , the court dismissed a selection and arrangement

claim of infringement because the combination of six commonplace

elements "lacks the quantum of originality needed to merit

copyright protection ." Satava v. Lowry , 323 F . 3d 805 , 811        (9th

Cir . 2003) .

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     At some level , every work is the selection and arrangement

of unprotectable elements . Musical compositions chiefly adhere

to this template . All songs , after all , are made up of the

" limited number of notes and chords available to composers ."

Gaste v . Kaiserman , 863 F . 2d 1061 , 1068   (2d Cir. 1988) . Within

that limited number , there are even fewer ways to combine the

elements in a manner that is pleasing to the ears . That means a

songwriter only has finite options for playing a commonplace

chord progression . The options are so few that many combinations

have themselves become commonplace , especially in popular music .

If the selection and arrangement of unprotectable elements , in

their combination , is " so commonplace that it has come to be

expected as a matter of course ," then it lacks the "minimal

creative spark required by the Copyright Act and the

Constitution " to be original and thus protectable . Feist

Publications , Inc . v . Rural Tel . Serv . Co ., 499 U. S . 340 , 363

(1991) .

      It is an unassailable reality that the chord progression

and harmonic rhythm in " Let ' s Get It On" are so commonplace , in

isolation and in combination , that to protect their combination

would give " Let ' s Get It On " an impermissible monopoly over a

basic musical building block . "Let's Get It On ' s " chord

progression was used at least twenty - nine times before appearing

in " Let ' s Get It On " and was in another twenty - three songs

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before " Thinking Out Loud" was released. See Dkt . No . 179 Ex . 2

("Defendants ' Expert ' s Report") at Visual Exhibit H. It is so

ubiquitous that it has been taught for many years         (the issue of

this publication in the exhibit was dated as 2000) as a popular

chord progression in introductory books on how to play guitar

and piano . See id . at~~ 34 - 36 (citing Money Chords : A

Songwriter ' s Sourcebook of Popular Chord Progressions and Guitar

for Advanced Beginners) . The harmonic rhythm was used in at

least eight other songs before "Let ' s Get It On" and in another

fifteen before the release of "Thinking Out Loud. " Dkt . No. 179

Ex . 9 (" Defendants ' Expert ' s Report") at 9- 10 . It is so common

that Mr . Sheeran himself used it , or a similar version , in at

least twenty additional songs he wrote before writing " Thinking

Out Loud ." Dkt . No . 179 Ex . 2 at Visual Exhibit I .

     The combination is commonplace . Amy Wadge , who co - wrote

"Thinking Out Loud, " used a nearly identical combination in one

of her prior songs , " Better Than Me ." Id . at~ 63 (the only

difference between "Thinking Out Loud" and this prior work by

Wadge is that the prior work also happens to anticipate the

third chord change) . Defendants ' experts also identified ,

undisputed by SAS ' s expert , 4 at least four songs that were



4SAS ' s expert , Dr . Covach , did not dispute that the songs used
the same combination of elements . Rather , he argued that other ,
potentially more popular , versions of the songs did not use the
combination . Dkt . No. 200 Ex. 9 ~~ 10 - 13 .
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released prior to "Let's Get It On" that used virtually the same

combination. Id. at!! 43-46, 56-60; 107 (discussing examples of

prior art, including the songs "Georgy Girl," "Since I Lost My

Baby," "Downtown," and "Get Off Of My Cloud"); Dkt. No. 179 Ex.

20 ("Defendants' Expert's Rebuttal Report") !! 26-38. The

combination has also been used in songs that were released after

"Let's Get It On" but before "Thinking Out Loud." Dkt. No. 179

Ex. 2 ! 4 (discussing "I've Got Love On My Mind"); Id. Ex.             9 at

38   (discussing "Do It To Me"). While the appearance of the

combination in other songs has no bearing on whether it is

original in "Let's Get It On," it does illustrate how multiple

songwriters have combined the two commonplace elements in the

same manner for years.

      The selection and arrangement of these two musical elements

in "Let's Get It On" is now commonplace and thus their

combination is unprotectable. If their combination were

protected and not freely available to songwriters, the goal of

copyright law "[t]o promote the Progress of Science and useful

Arts" would be thwarted. U.S. Const. art. I§ 8. The Copyright

Act envisioned that there will be unprotectable elements-based

works "in which the selection, coordination, and arrangement are

not sufficiently original to trigger copyright protection."

Feist Publications, Inc., 499 U.S. at 358.



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     As a matter of law , the combination of the chord

progression and harmonic rhythm in "Let ' s Get It On " is too

commonplace to merit copyright protection.

                                   Conclusion

     To prevent manifest injustice , defendants ' Motion for

Reconsideration is granted. Dkt . No . 212 . There is no genuine

issue of material fact as to whether defendants infringed the

protected elements of " Let ' s Get It On ." The answer is that they

did not . Accordingly , their Motion for Summary Judgment is

granted . The Complaint is dismissed with prejudice .

      Plaintiff ' s renewed cross - motion for Summary Judgment is

denied .

      The Clerk of the Court is directed to close the case .

      So Ordered.

Dated :     New York , New York
            May 16 , 2023


                                                     L~s L..staav~
                                                  LOUIS L . STANTON
                                                      U. S . D.J .




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-   -   -    -    -   -   -   -    -   -   -   -   -   -   -   X
STRUCTURED ASSET SALES , LLC ,

                                  Plaintiff ,                                18 Civ . 5839 (LLS)

            - against -                                                       CLERK ' S JUDGMENT


EDWARD CHRISTOPHER SHEERAN , p/k/a
ED SHEERAN , SONY/ATV MUSIC
PUB LI SHING , LLC , ATLANTIC RECORDING
COR PORATION d/b/a ATLANTIC RECORDS ,
BDI MUSIC LTD ., BUCKS MUSIC GROUP LTD .,
THE ROYALTY NETWORK , INC ., DAVID
PLATZ MUSIC (USA) INC ., AMY WADGE ,
JAKE GOSLING and DOES 1 THROUGH 10 ,

                                  Defendants .
-   -   -    -    -   -   -   -    -   -   -   -   -   -   X



            It is hereby ORDERED, ADJUDGED AND DECREED:                             That for the

r e asons stated in the Court ' s Opinion and Order dated May 16 ,

2023 , defendants ' Motion for Reconsideration is granted .                                  Their

Motion for Summary Judgment is granted . The Complaint is

d ismissed with prejudice . Plaintiff ' s renewed cross - motion for

Summa r y Judgment is denied and the case is closed .

Dated :           New York , New York
                  May 17 , 2023                                              RUBY J. KRAJICK

                                                                              Clerk of Court
                                                                       BY:


                                                                              Deputy Clerk
